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                                UNITED STATES DISTRICT COURT

                                 EASTERN DISTRICT OF LOUISIANA

   IN RE: KATRINA CANAL BREACHES                                   *       CIVIL ACTION
   CONSOLIDATED LITIGATION
   ___________________________________________                     *       NUMBER: 05-4182

   LEVEE CASES                                                     *       SECTION: “K” (2)
   PERTAINS TO:        06-4931
   (Emma Brock, et al)                                             *       JUDGE DUVAL

                                                   *     MAG. WILKINSON
   ______________________________________________________________________________
       SECOND SUPPLEMENTAL AND AMENDING CLASS ACTION COMPLAINT

           NOW INTO COURT, through undersigned counsel comes complainants, Emma Brock, a

   person of the full age of majority domiciled in the Parish of Orleans, State of Louisiana; Joann B.

   Plaier, a person of the full age of majority domiciled in the Parish of Orleans, State of Louisiana;

   Sandra Jackson, wife of/and Robert Jackson, both persons of the full age of majority domiciled in the

   Parish of Orleans, State of Louisiana; John J. Signorelli, a person of the full age of majority domiciled

   in the Parish of Jefferson, State of Louisiana; Hilda Clark, wife of/ and Albert Clark, both persons of

   the full age of majority domiciled in the Parish of Orleans, State of Louisiana; and Shirley Allen

   Taylor, a person of the full age of majority domiciled in the Parish of Orleans, State of Louisiana who

   file this Second Supplemental and Amending Class Action Complaint , on their own behalf , and on

   behalf of a class of complainants similarly situated, as complainants herein represent that they have

   injuries common to all those similarly situated who incurred damages arising out of the breach and

   failure of the hurricane protection levees and flood walls which occurred in the Parishes of Orleans,

   State of Louisiana in the wake of Hurricane Katrina.

                                                   I.

           All of these individuals identified on attached exhibit A have timely presented their claims to
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   the Army Corps and the United States for damages arising as a result of Hurricane Katrina and desire

   to name plaintiffs in this matter. Six (6) months have elapsed since the presentation of the claim and

   the Corps has failed to act by either accepting or rejecting their claim and complainants elect to

   consider such failure to act as a final denial of the claim.

                                                   II.

            Complainants desire to supplement and amend their original class action complaint by

   adopting the allegations contained in the pleading Laura Greer, Gary Greer, Gary Bird, Cynthia Bird,

   Thurman Kaiser and Patricia Monteleone, on behalf of themselves and all others similarly situated v.

   The United States of America. Department of the Army, Corps of Engineers, on the docket of the

   United States District Court, Eastern District of Louisiana, Civil Action Number 07-647 (K-2), filed

   February 8, 2007 by Joseph M. Bruno and the Levee Litigation Group by adopting paragraphs III

   through IX, inclusive of pages 6 through 35 of the Complaint for Damages- Class Action referred to

   above.

            Wherefore, considering the foregoing complainants pray that their original Class Action

   Complaint and First Supplemental and Amending Complaint be amended in the above particulars.

                                                   Respectfully Submitted,



                                                 s/Robert J. Caluda
                                                 Robert J. Caluda
                                                 La. Bar No. 3804
                                                 Attorney for Plaintiffs
                                                 The Caluda Law Firm
                                           3232 Edenborn Avenue
                                                 Metairie, Louisiana 70002
                                                 Telephone: (504)586-0361
                                                 Facsimile: (504) 522-5161
                                                 rcaluda@rcaluda.com
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           KATRINA MASTER CLIENT LIST OF ROBERT J. CALUDA EXHIBIT A

   70112

   Barrow, Leonta individually and on behalf of minor children, Brianell and Brionta Barrow
   Batiste, Malika
   Cousin, Carlen
   Cunningham, Brenda
   Edmond, Cynthia
   Fields, Melissa
   Green, Ernest, Jr.
   Handy, Ariane
   Jefferson, James
   Johnson, Carol
   Johnson, Charles
   Johnson, Jimmie
   Powell, Linda A.
   Rayfield, Joseph, Jr.
   Smith, Thomas
   Stevenson, Pete
   Turner, Rosalee
   Veals, Kellie
   Waxter, Rodney J.

   70113

   Brown, Gertrude
   Coleman, Shirley
   Cooper, Sherell
   Deal, Annie Lee
   Dillon, Denise
   Hill, Jessie
   Holmes, Lisa, individually and on behalf of minor children, Cleichelle, Rashif, Diamond and LeRyan
   Holmes
   Johnson, Elizabeth Y.
   Johnson, Ruthfin D.
   Jones, Anna
   Jones, Jake
   Jones, Laquana
   Lang, Patricia
   Luckett, Patrice
   Mathis, Joseph
   Myles, Lori Ann
   Robinson, Johnnie
   Robinson, Mary
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   Robinson, Nikita
   Robinson, Patricia
   Rodrigues, Myriane
   Shief, Earline H.
   Snowton, Robin M.
   Stalks, Shirley
   Steptore, Cora L.
   Veals, Ronica
   Ventry, Michelle, individually and on behalf of minor children, Eric, Franklin, Martelle, Michael,
   Micquelle and Shamichael Ventry
   Ventry, Yvette
   Washington, Paulette
   Wilson, Chaka, individually and on behalf of minor children, Kelvin, Jr., Keltione and Kelchaka
   Walker
   Wise, Patricia Ann

   70114

   Douglas, Enola
   Feliciana, Lurerane
   Feliciana, Webster
   Henderson, Corey

   70115

   Augustin, Kinmichael
   Bradley, Gregory
   Brown, Charles A.
   Burds, Wanda
   Burns, Kim
   Carter, Glenda
   Clark, Samuel, Sr.
   Collins, Gerald R.
   Collins, Sterling
   Combs, Sidney
   Conner, Judith E.
   Coston, Dionne
   Davis, Traychell
   Ealy, Alicia
   Essex, Charles W.
   Fielder, Mark
   Finney, Zelda
   Franklin, Alfreda, individually and on behalf of minor children Caleb and Corey Franklin
   Green, Eugenia
   Green, Jessie
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   Haynes, James E. Jr.
   Haynes, Modell R.
   Hyman, Evadne
   Jacques, Livia A.
   Johnson, Constance
   Johnson, Kathy
   Johnson, LeShawn
   Jones, Mary (DOB: 3/1/56)
   Jordan, Tommie
   Magee, Myliene individually and on behalf of deceased mother Mildred Joseph
   Joseph, Shadarick
   Landry, Cynthia
   Landry, Valerie
   Landor, Shirley
   Lewis, Raymond, Jr.
   Merritt, Troy-Lynn, individually and on behalf of minor child, Edwin Merritt, Jr.
   Merritt, Edwin, Sr.
   Blanks, Kortney
   Blanks, Brittnie
   Mills, Roosevelt
   Morris, Diane
   O'Neal, DeCarlos M.
   Parker, Iantha
   Pepp, Elaine
   Randall, Amanda
   Randall, Erica
   Rhodes, Marquita
   Scott, Mary
   Simon, Wanda, individually and on behalf of minor child, Troy Simon
   Julien, Tiffany
   Staves, Sonja
   Spain, Bernice
   Taylor, Cynthia
   Travia, Judy A.
   White, Denise M.
   Williams, Romaine
   Willis, Deirdre, individually and on behalf of minor child, Waynell Willis
   Willis, Latricia

   70116

   Allen, Stacie M.
   Arnold, Terry A. Sr.
   Ash, Yolanda
   Augustus, Tara, individually and on behalf of minor children, Tyrionne Augustus and Donte’ Frazier
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   Banks, Lucille
   Barracks, Elaine P.
   Bernard, Emanuel
   Bruce, Larry
   Bruce, Valerie L.
   Brunfield, Lucretia
   Bryant, Lisa
   Carson, Larry
   Celestine, Althea
   Chapman, Demetrius
   Cohn, Cassandra
   Coleman, Betty
   Collins, Debra
   Cunningham, Earline
   Davis, Dorothy
   Dillon, Antoinette
   Dillon, Keith
   Dotson, Dorothy
   Ford, Albion
   Franklin, Albert
   Franklin, June, individually and on behalf of minor children, Joshua Ross and George Burgess, IV
   Gilbert, Angelina
   Gilbert, Barry
   Giles, Isabell
   Giles, Ada Mae
   Gilbert, Tiffany
   Gipson, Carol
   Gipson, George, Jr.
   Gipson, Mary
   Glasper, Cornell
   Gleason, Charlene
   Gordon, Patricia
   Green, Reginald
   Hamlett, Ernest
   Harris, Gregory L.
   Harris, Sheral
   Hawthorne, Lisa
   Hebrard, Gail
   Hebrard, Karen
   Hill, Cynthia
   Hill, Dorothy
   Hubbard, Lester
   Humble, Arcell
   Jackson, Severn, Jr.
   Johnson, Chrishaunda, individually and on behalf of minor children Cal-Shea and Tenya Johnson
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   Johnson, Joe
   Jones, Gloria
   Jones, Thelma
   Jordan, Khadyal
   Juluke, Stella
   Keyes, Kara
   Leal, Doris M.
   Martin, Hazel
   Matthews, Levern
   Styles, Emelda
   Bennett, Gloria C.
   Curtis, Berthard L.
   Meyers, Melinda
   Miller, I.H.
   Miller, JoAnn
   Monroe, Linda J.
   Montana, Joyce F.
   Pete, Nathan, Jr.
   Bentley, Nina Peters
   Phillips, Katrina Howard, individually and on behalf of minor child, Kalvon Howard
   Posey, Vivian
   Price, Solomon
   Ragas, Thadius
   Rawles, Enola E.
   Robinson, David
   Santee, Gail
   Smith, Ronald T. (DOB: 12/17/50)
   Smith, Wayne
   Stokes, Minique
   Stovall, Gail
   Stovall, Stacey
   Sutton, Clifford E.
   Terrance, Rosie Lee
   Thomas, Gary W.
   Thomas, Willie Mae
   Valcius, Dollinder Hurst Smith, individually and on behalf of minor child, Darzealia Valcius
   Vicks, Ronald W.
   Walker, Cellistene
   Butler, Rickey
   Walker, Freddie
   Walls, Adrienne
   Walls, Hubert
   Walls, Suzanne S.
   Williams, Johanna
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   70117

   Adams, Banetta
   Adams, Floyd
   Alford, Louis
   Allen, James
   Allen, Sharon
   Alveris, Barry
   Ancar, Mae
   Anderson, Arthur, Jr.
   Anderson, Avery, Jr.
   Anderson, Tracey
   Anderson, Beulah, S.
   Andrews, Al
   Andrews, Derrick
   Andrews, Lee
   Andrews, Leslie
   Andrews, Stephanie
   Andrews, Ulysses
   Anin, Benjamin
   Anin, Camile O.
   Armour, James
   Armour, Karen
   Armstrong, Torrance
   Ashford, Enell
   Ashton, Ora, L
   Atkinson, Imogene, individually and on behalf of minor child, Dia’Vonnie Atkinson
   Atkinson, Mykeal
   Augustine, Angelina
   Bachemin, Elisha
   Bailey, Claudia B., individually and on behalf of minor children, Stacey, Keith Jon and Nadeen Wilson
   Bailey, Travis
   Bailey, Tyran, Sr.
   Baker, Leo
   Baker, Leslie A.
   Baker, Troy
   Banks, Lawrence
   Banks, Mary B.
   Baptiste, Shawntika
   Barconey, Oscar J.
   Barconey, Samantha M.
   Bates, Joyce
   Batiste, Dessie
   Batiste, Patricia
   Battiste, James, Jr.
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   Battiste, Shirley
   Baudy, Ladwenia N.
   Beasley, Bennie
   Bell, Ronald
   Bell, Terrel
   Belton, Bonita
   Benoit, Willie Bee
   Bennett, Ina E., Jr.
   Bernard, Tony
   Bethley, Cleveland, Jr.
   Bethley, Myrtis
   Bernard, Cheryl A.
   Bernard, Melvin
   Black, Calvin
   Black, Yvette
   Blackmon, Arthur A., Sr., individually and on behalf of minor children, Laura, Terence and Whitney
   Alexander and Ray Edward Armant
   Blackmon, June P.
   Blackmon, Louis W., Sr.
   Blackmon, Rutha
   Blackstone, Troy
   Blackstone, Georgia
   Blanks, Shannon
   Boisley, Alice
   Boisley, Joseph
   Boisley, Rodney
   Bonnee, Lynette
   Bonner, Diana
   Bonner, Joseph
   Boose, Geraldine
   Boose, Jiles
   Boykins, Geraldine
   Bradford, Paula
   Bradley, Phylicia
   Bradley, Roy, Jr.
   Branch, Lionel, Sr.
   Branch, Frederick
   Breaud, Patricia
   Bridges, Elma Lee
   Bridges, Clarence
   Bridges, Peter
   Brooks, Dorothy
   Brooks George
   Brown, Brandon S.
   Brown, Carol
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   Brown, Carol A. (DOB: 9/20/74)
   Brown, Charlotte
   Brown, Corliss
   Brown, Ella T.
   Brown, Gladys R.
   Brown, Jacqueline
   Brown, Jane
   Brown, Kirk
   Brown, Lawrence
   Brown, Melissa
   Brown, Monica
   Brown, Patrice
   Brown, Paulette
   Brown, Piper
   Brown, Rebecca
   Brown, Thelma
   Brumfield, Ozell Johnson
   Brumfield, Shana
   Brumsfield, Cedric
   Brumsfield, Doretha
   Buggage, Lawana
   Burfict, Bronya, individually and on behalf of minor children, Michael, Christopher, Jazmine and
   Jazminique Chenier
   Burfict, Michael
   Burgess, Kittoria
   Butler, Claudia
   Butler, Daisy
   Butler, David
   Butler, Dolores
   Butler, Larry
   Butler, Maila
   Cabral, Gayle
   Cabral, Gaynelle
   Cabral, Lynelle
   Cager, Albert
   Cager, Charline
   Cager, Clara
   Cager, Darrell, Sr.
   Cager, Marion
   Cager, Wesley
   Caldwell, Terry
   Caloin, Barbara
   Cameron, Patricia
   Camp, Carmella
   Camp, Clinton
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   Cannon, Theresa
   Carr Ferdinand, Jr.
   Carr, Riva
   Carter, Ann
   Carter, Marshall J.
   Carter, Gregory
   Carter, Iris
   Carter, Mary Alice
   Carter, Rachelle
   Causey, Jean
   Causey, Terrazz
   Cavalier, June, individually and on behalf of minor child, Edward Profit, III
   Cavalier, Ashley, individually and on behalf of minor child, Mark O’Neal, III
   Celestin, Lionel E.
   Celestine, Lawson, individually and on behalf of minor child, Bryan Celestine
   Celestine, April
   Chapital, Alecia
   Chapman, Laurine, individually and on behalf of deceased Charles Kirkwood
   Chapman, Bobbie
   Chapman, Ray
   Chapman, Morris
   Chapman, Gawain L.
   Chapman, Patrick L.
   Chapman, Renee
   Chapman, Dervin
   Chappetta, Steven P.
   Cheneau, Betty
   Claiborne, Doris
   Clark, Adele
   Clark, Albert
   Clark, Ekco
   Clark, Hilda
   Clark, James
   Coffil, Trasa
   Cole, Shelia
   Coleman, Alice
   Coleman, Almetra
   Coleman, Eola
   Coleman, Lizanne
   Coleman, Monday
   Coleman, Rose
   Coleman, Shirley
   Coleman, Stephanie
   Collins, Barbara
   Collins, Earl C.
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   Collins, Eddison, Sr.
   Collins, Linda
   Collins, Thomas J., Jr.
   Collins, Velma
   Condor, Bonnie
   Condor, Tribble
   Conerly, Eddie G., Jr.
   Cooks, Kimberly Ann
   Copeland, Derrick
   Copelin, Aline
   Cornish, Sylvia
   Cottrell, Elias, II
   Craig, Doris
   Craig, Terry L., individually and on behalf of minor child, Tina Craig
   Craig, Leon
   Craig, Michael
   Craig, Thelma
   Craig, Lanis
   Crain, Maggie
   Crawford, Edgar
   Cruell, Trycia W.
   Crutchfield, Louella
   Crutchfield, James
   Dailet, Karen, individually and on behalf of minor children, Alexis and Samika Dailet, Sammie
   Addison and Andrea Hawkins
   Daniels, Anevenet
   Daniels, Earl
   Dantzler, Bobby
   Darby, JoAnn, individually and on behalf of minor child, Brandon Darby
   Davidson, Eureka
   Davis, Causey
   Davis, Charles
   Davis, Clarence
   Davis, Clarence
   Davis, Daphne, individually and on behalf of minor children, Ashley and Daphneque Davis
   Miller, Crystal
   Davis, Eugene, Sr.
   Davis, Keywana
   Davis, Lenox
   Davis, Lois
   Davis, Mary
   Davis, Nicole
   Dean, Latasha
   Dean, Mildred,
   DeBouse, Isaac
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   DeJean, Gwendolyn
   DeJean, Larry, Sr.
   Delavallade, Voncille
   Depron, Percy
   DeRogers, Fannie
   Dexter, Carolyn
   Diaz, Larry G.
   Dixon, Edwin
   Dixon, Jennifer
   Dodson, Peter
   Donaldson, April
   Dorsey, Cedric
   Dorsey, Larry
   Doucette, Dorita
   Dozier, Tomeca, individually and on behalf of minor child, Trae Dozier
   Dubose, Shaunquell
   Dunn, Jacqueline
   Dunn, Donald
   Duplessis, Gail
   Duplessis, Natalie
   Dupart, Harriet
   Dupart, John
   Dupart, Chavon
   Dupart, Michelle
   Ebbs, Sandra
   Edmonson, Genevieve
   Edwards, Leroy
   Ellis, Diane
   Epps, Shanell
   Esco, A.C.
   Etienne, Rubin
   Evans, Denease
   Everage, Phyllis
   Falls, Almena, individually and on behalf of minor children, Jamall and Herman Lee Falls, Jr.
   Falls, Herman, Sr.
   Falls, Joyce
   Farve, Joi
   Farve, Roy
   Fauria, Joyce A.
   Fernandez, John, Sr.
   Fernandez, Paul
   Fields, Lorraine
   Fields, Patrice
   Fisher, Charles
   Fisher, Effie
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   Flagge, Paulette
   Fletcher, Diane
   Ford, Christiana
   Ford, Jose
   Forges, Sandra
   Fortenberry, Burnetta, individually and on behalf of minor children, Roderick, Daryl and Kenneth
   Fortenberry
   Foster, Wesley
   Fournette, Kevin J., Jr.
   Foxworth, Kathy A,
   Francis, Genevia
   Francois, Latara M.
   Francois, Rosetta
   Francois, Shantinee
   Franklin, Alma
   Franklin, Danielle
   Franklin, Ernest
   Franklin, Shelia
   Freeman, Dianne
   Freeman, Sandra
   Gaines, Narcisse
   Gaines, Rhondaline
   Gardner, Frankie
   Gardner, Leroy, individually and on behalf of minor child, Zariah Gardner
   Gaspard, Patricia
   George, Arnell
   George, Tiffany
   Gilmore, Dana
   Goins, Ora J.
   Gooden, Foley
   Gordon, Ellie Louise
   Gordon, Robert, individually and on behalf of minor children, Brandon and Aaron Jynes
   Gordon, Jazmie, individually and on behalf of minor children, Alania, Nas’Elijah, Keira and HaSahn
   Gordon
   Graber, Ernestine
   Gray, Christopher
   Gray, Sadie
   Gray, Juan
   Green, Allen
   Green, Althea
   Green, Cedrice
   Green, Eggula
   Green, Evelyn
   Green, Francine
   Green. Lytrice, individually and on behalf of minor children, Renaldo, Gerrani, Gerriyal and Gerran
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   Green
   Green, Mary G.
   Green, Rodney
   Green, Shadwick
   Green, Shem
   Green, Sharon
   Green, Sonja
   Green, Virgie
   Green, Wanda, individually and on behalf of minor child, Devin Green and deceased husband, Larry
   Williams
   Green, Yvette
   Gresham, Rose
   Grinds, Denise
   Guidry, Dorothy
   Gusman, Ryan
   Guy, Gloria, individually and on behalf of minor children, Kevin, Elbert, Kenneth, Kendrall and Mya
   Barnes and deceased Earl R. Guy, Jr.
   Guy, Antonio
   Guy, Latasha Newton
   Guyton, Nicki
   Guzman, Arthur
   Hagan, Leila
   Hamilton, Erik
   Hamilton, Linda
   Handy, Earline
   Handy, Henry, Jr.
   Handy, Mary (DOB: 10/29/34)
   Handy, Anna Marie
   Handy, Angela
   Handy, Mary (DOB: 06/04/58), individually and on behalf of minor children, Shantell, Terrell,
   Vinquelle and Alicia Handy
   Handy, Terrance
   Handy, Shirlene
   Hannah, Flavia
   Hardy, Anna
   Hardy, Kim
   Harold, Jerome
   Harrell, Stephanie, individually and on behalf of minor child, William Carr
   Harrell, Tiffany
   Harris, Bernadine
   Harris, Charlene
   Harris, Cherita
   Harris, Christine
   Harris, Daniel
   Harris, Deborah
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   Harris, Dorothy
   Harris, Geraldine
   Harris, Sharon L.
   Harris, Terrence
   Harris, Shirley (DOB: 6/20/51)
   Harris, Shirley W. (DOB: 11/24/30)
   Harris, Shirley J. (DOB: 2/25/55)
   Harris, Victor
   Harrison, Lauren
   Harrison, Johnnie
   Harvey, Warren
   Hatcher, Laura Lee
   Hayes, Charlene
   Hayes, Javon J.
   Hayes, Thais
   Haynes, Shanda J.
   Hebrard, Serial, Jr.
   Hicks, Gloria Prevost
   Hickerson, Beverly
   Hillard, David, Jr.
   Hillard, Mary
   Hockett, Betty
   Hollins, Huey
   Holmes, Doris
   Honore, Mary T.
   Hookfin, Shelia
   Horne, Patricia
   Houston, Georgia
   Howard, Jamal
   Howard, Kathy
   Hughes, Johnny, Jr., Reverend, individually and on behalf of deceased wife, Claudia Hughes
   Hunter, Raymond
   Jack, Shelia
   Jacobs, Brenda
   Jacobs, Ethel, individually and on behalf of minor child, Lauryn Jacobs
   Jacobs, Patrice
   Jackson, Dewitt
   Jackson, Dianne
   Jackson, Ernestine
   Jackson, Kevin
   Jackson, Kim
   Jackson, Michael
   Jackson, Michelle
   Jackson, Shirley
   Jamison, Michael
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   Jarreau, Ora
   Jeanpierre, Eugene, Sr.
   Jefferson, David, Jr., individually and on behalf of minor children, Latoya, Damion, Tiara and David
   Jefferson, III
   Jefferson, Diedre Bernard, individually and on behalf of minor child, Tahj Jefferson
   Jefferson, Doretha
   Jefferson, Effie
   Jefferson, Lee Ester
   Jenkins, Cyril, Sr.
   Jenkins, Myrtle
   Jenkins, Roray
   Jiles, Byron
   Jiles, Trenika
   Johnson, Beverlyn
   Johnson, Bridgette
   Johnson, Carl
   Johnson, Cecilia
   Johnson, Charles
   Johnson, Clarence, Sr.
   Johnson, Comera
   Johnson, Crawford
   Johnson, Dianne
   Johnson, Dorothy
   Johnson, Ernest
   Johnson, Eugene
   Johnson, Eva Simmons
   Johnson, Evelyn
   Johnson, Hanella
   Johnson, Imelda
   Johnson, Jamal
   Johnson, Kijuan
   Johnson, Lisa
   Johnson, Lola Bee
   Johnson, Lyndon
   Johnson, Percival, individually and on behalf of minor children, Percy Allen Johnson and Derrick
   Smith
   Johnson, Regina B.
   Johnson, Roland
   Johnson, Rosetta
   Johnson, Thomas
   Johnson, Tommie L.
   Johnson, Torrie, individually and on behalf of minor children, Mekhi, Jacobi and Justin Thomas and
   Brody and Brandi Bernard
   Johnson, Troy
   Johnson, Vachroan
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   Johnson, Verllin W.
   Johnson, Vernessa
   Johnson, Willie
   Joiner, Dale
   Jones, Cassandra
   Jones, Charlandra
   Jones, Clyde M., Sr.
   Jones, Daphne
   Jones, Derrick
   Jones, Dolores
   Jones, James
   Jones, Julius, Jr.
   Jones, Keyonna
   Jones, Patricia A.
   Jones, Penny A.
   Jones, Malcolm
   Jones, Willie Lee, Sr.
   Joseph, Lorraine
   Journee, Christine T.
   Journee, Leontine, individually and on behalf of minor child, Natalie Journee
   Justin, Frances
   Kaigler, James
   Kees, Christopher, Sr., individually and on behalf of minor children, Christopher, Jr. and Jaden Kees
   Kees, Edward
   Kees, Edwena
   Kees, Jairon M.
   Kees, Rueben
   Kees, Tyrone
   Kees, Valerie, individually and on behalf of minor children, Taylor A. Kees, Julius and Brandon Scott
   Kent, Lula Mae
   Kent, Majunta
   Kepp, Denise
   Kepp, Melvina
   King, Melissa
   Kirk, Carutha
   Kirk, Mandy
   Kitchens, Doretha
   Kitchens, Roy
   Lacy, Ethel Mae
   Landry, Vera P.
   Langford, Valerie
   Lafrance, Charlene, individually and on behalf of minor children, Byron Lafrance, Byron Major and
   LaBreisha Bougere
   Lafrance, Kathleen
   Lawrence, Ernest, Sr.
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   LeBlanc, Frank
   LeBlanc, Hazel
   LeBlanc, Katherine
   LeBlanc, Melvin
   Lee, Anthony
   Lee, Chanel M., individually and on behalf of minor children, Darnell Lee and Brianna Frazier
   Lee, Gerald, Sr.
   Lee, Irma
   Lee, Lawrence
   Lemon, Karen M
   Leon, Karen
   Leontine, Journee
   Levy, Barbara
   Levy, James
   Levy, Kizzy
   Levy, Otis
   Lewis, Bessie M., individually and on behalf of deceased Benny Lewis
   Lewis, Bryant G.
   Lewis, Ceophus, Sr.
   Lewis, Charlotte
   Lewis, Delphine M.
   Lewis, Felix, A.
   Lewis, Irvin
   Lewis, Lynn
   Lewis, Melvin
   Lewis, Mona
   Lewis, Ronald W.
   Lewis, Wanda
   Lindsey, Majorie L.
   Livers, Joseph S.
   Livers, Shirley R.
   Lodge, Nikishua
   Louis, Kevin
   Lumar, Roy
   Lyons, Darrel
   Lyons, Elmore
   Lyons, James
   Lyons, Janice
   Mack, Brenda
   Mack, Daniel
   Mack, George Lee, Sr., individually and on behalf of minor child, Brianna Mack
   Mack. George Lee, Jr.
   Mack, Johnnie, Jr.
   Mack, Johnnie, Sr.
   Mack, Kristina
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   Mack, Mattie
   Macklin, Fabiola S.
   Madison, Elton
   Madison, Evangeline
   Magee, Arnold, individually and on behalf of minor child, Jessica Lee
   Magee, Bobbie J.
   Magee, Jewel
   Magee, Josephine
   Magee, Roy
   Magee, Willie
   Magee, Zebedee
   Magnard, Territa
   Mamou, Debra, individually and on behalf of minor child, Damion Morgan
   Manuel, Burnell
   Marchand, Janie
   Mark, Kim M.
   Mark, Sylvia
   Marshall, David
   Marshall, Issac
   Marshall, Thaddeus
   Marshall, Vernamae
   Marshall, Wilburn
   Martin, Creasie, individually and on behalf of minor child, Craig Martin
   Martin, Dwayne
   Martin, Joyce
   Martin. O.C.
   Martin, Shawn
   Martin, Steven
   Martin, Tina
   Martin, Wendell
   Marts, Shirley Mae
   Mason, Rufus
   Mathieu, Felix, Sr.
   Maxwell, Melissa
   Mayberry, Dionne, individually and on behalf of minor children, Michael Mayberry, Jr. and Clyde
   and Kyle Celius
   Mayberry, Michael, Sr.
   Mays, Cassandra
   McCrary, Brenda
   McDaniel, Marcus
   McDow, Angel, individually and on behalf of minor children, Corrianne and Coreyelle Celestine and
   Cobria McDow
   McElveen, Emma
   McFadden, Vera L.
   McFarland, Danielle
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   McGowan, Jessie
   McKenzie, Inez
   McKnight, Rufus
   McMiller, Hazel L.
   McMorris, Eric
   McMorris, Georgie L.
   McMorris, Gregory
   McMorris, Luthe
   Medious, Willie
   Melancon, Reginald
   Mercadel, Tyrone
   Merrick, Evelyn
   Merrill, Erma
   Meyers, Darren
   Meyers, Jane
   Meyers, Sonia
   Mickey, Carol M.
   Mikell, Dwight
   Mikell, Sandie
   Miles, Gloria
   Miller, Deborah
   Miller, I.H.
   Mills, Germaine
   Mills, Terrell, Sr., individually and on behalf of minor children, Kortney and Terrell Mills, Jr
   Mitchell, Leona Byrd
   Mizett, Antoinette
   Mizett, Margie
   Moody, Licia
   Montgomery, Jacquelyn
   Moore, Carrie M.
   Moore, Georgeana, individually and on behalf of minor child, Inteanna Hill
   Moore, Henry
   Moore, Shawonda
   Moore, Shirley
   Moore, Theresa B., individually and on behalf of minor child, K'Lyn Bowden
   Morgan, Pamela, individually and on behalf of minor children, James and Keedra Morgan
   Morgan, Ronald Lee
   Morgan, Wayne
   Morris, Gwendolyn
   Morris, Herman
   Morris, Jamine, Sr.
   Morris, Marie
   Moses, Beulah M.
   Moses, Shirley
   Mosley, Aaron B. Jr.
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   Mott, Ashley
   Mott, Paula, individually and on behalf of minor children, Amya Ward and Asia D. Washington
   Mott, Ronald J., Jr.
   Mott, Ronald J., Sr.
   Mott, Rustin
   Muhammad, Wali
   Muhammed, Natassah
   Mullens, Cynthia, individually and on behalf of minor children, Cyntrell and Joy Mullens
   Mullens, John
   Murdock, Tindell, Sr., individually and on behalf of minor child, Joseph Murdock
   Murphy, Jocelyn
   Myles, Harold, Sr.
   Myles, Yvonne
   Nelson, Carol
   Nelson, Veronica
   Nero, Joseph
   Newsome, Estelle
   Nixon, Junius, Jr.
   Nixon, Valerie
   Norman, Charles
   Norman, Freddye
   Norman, Geraldine
   Norwood, Andrea
   Oliver, Alton E.
   Oliver, George
   Oliver, Ida
   Oliver, Louise D.
   O'Neal, Joyce W.
   O'Neal, Monique
   Owens, Glenisha
   Owens, Jane
   Owens, Ja Paula
   Paige, Geraldine, individually and on behalf of minor children, Tenika and Tenille Paige
   Paige, William
   Pajeaud, Scherell
   Palmer, James
   Palmer, Miriam
   Parker, April
   Parker, Charlita
   Parker, Chelsea, individually and on behalf of minor child, Derrielle Jacque
   Parker, Darlene
   Parker, Kenyatta
   Parker, Kevin
   Parker, Vanessa
   Paten, Casey
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   Paten, Geraldine
   Paul, Catherine
   Paulin, Yvette, individually and on behalf of minor child, De'Aris Paulin
   Payne, Edward I.
   Payton, Rose M.
   Pearly, Joseph A.
   Penns, Rachel R.
   Perkins, Luverda
   Perry, Diane
   Petit, Terrance
   Petite, Andrell
   Phillips, Kennikqua
   Phipps, Curtis
   Phipps, Henry, Jr.
   Phipps, Rosemary
   Pickett, Tamiko
   Pierce, Donna J.
   Pierce, Mary
   Pitts, Brenda
   Pitts, Brian
   Pitts, Kathylean
   Pleasant, Julia
   Plummer, Roy E., Jr.
   Polk, Lillie
   Poole, Darlene
   Populis, Annie Mae
   Populis, Walter
   Poree, Lillian
   Powe, Annishka
   Price, Daphne
   Pugh, Willie Lee, Jr.
   Rainey, Frances L., individually and on behalf of minor child, Carlisa Rainey
   Rand, Leonard
   Randall, George J.
   Randall, Ronique
   Randall, Woodrow
   Ravy, Alfred
   Ravy, Therese L.
   Rayford, Juanita
   Raymond, Gloria
   Raymond, Lawrence, Sr.
   Raymond, Valerie
   Reed, Bridget, individually and on behalf of minor children Ronell Reed and Bre’ll Butler
   Reese, Brunette
   Rhodes, Linda
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   Rhodes, Mona
   Rhodes, Wilbert
   Richard, Kenya
   Richard, Quentilla
   Richardson, Bernice
   Richardson, Quanta
   Rickmon, Johnny, Jr., individually and on behalf of minor children, Arianne Rickmon and Bryce
   Guzman
   Rickmon, Priscilla
   Riley, Laura
   Riley, Lena
   Ringo, Tierlene
   Ritch, Faith, individually and on behalf of minor children, Christian Ritch and Devin Williams
   Robair, Valerie
   Robert, Leola
   Robertson, Janice
   Robertson, Keith
   Robinson, Arthur
   Robinson, Catherine
   Robinson, Jamal
   Robinson, Marie
   Robinson, Melva, individually and on behalf of minor children, Ceyond and Teyond Stokes and
   Reyond Robinson
   Rochon, Wendy, individually and on behalf of minor children, Chanetria, Charles, Ceiara, Ce'Andre,
   Jonathan, Sandria and Earlmeish Rochon and Chad Compton
   Rouse, Lillie, individually and on behalf of minor children, Charles and Mitchell Rouse and Albert
   Minor, Jr.
   Rowan, Victoria
   Ruffins, Lloyd
   Ruffins, Rose
   Russell, Fred
   Russell, Katherine
   St. Cyr, Joanette
   St. Cyr, Shirley
   Salcedo, Betty
   Sampson, Deidra
   Samuel, Jill, individually and on behalf of minor child, Jazmin Samuel
   Samuel, Linda
   Sanders, Barbara
   Sanders, Lonnie, Jr.
   Sanders, Lonnie, Sr.
   Sanders, Mary
   Sanders, Tremeca
   Schexnayder, Cecelia
   Scott, Gisele
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   Scott, JoAnn D.
   Scott, Johnnie, Sr.
   Scott, Joseph
   Scott, Joseph, Mrs.
   Scott, Katherine
   Sentmore, Darlene
   Sentmore, Darryl
   Sentmore, Keith
   Shelby, Alton
   Shepherd, Quetin
   Shields, Mary
   Shorty, Earl
   Simmons, Joshua
   Simmons, Patricia, individually and on behalf of minor child, Aaron Simmons
   Simmons, Tanisha
   Simon, Donna
   Simon, Marguerite
   Sims, Ford
   Sims, Mary
   Sims, Pamela
   Sinegal, Dizelle
   Singleton, Kolette
   Singleton, Shanell
   Smalls, Stanislaus
   Smith, Antoinette, individually and on behalf of minor children, Earlton and Lauryn Smith
   Smith, Barbara
   Smith, Brian
   Smith, Charles
   Smith, Cynthia
   Smith, David
   Smith, Donna
   Smith, Earle
   Smith, Elaine
   Smith, Emanuel
   Smith, Ethel
   Smith, Frank
   Smith, Kinyada
   Smith, Latonya
   Smith, Monalisa
   Smith, Raymond
   Smith, Rose
   Smith, Sidney
   Smith, Terri
   Smith, Theresa
   Smith, Tynika
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   Smith, Vandell
   Smith, Venus
   Smith, Wanda
   Sneed, Donald
   Snowball, Deanna
   Snyder, Jerry, Jr.
   Snyder, Sheila, individually and on behalf of minor child, Marlon Williams, Jr.
   Sorina, Peggy
   Spencer, Essie
   Stalnaker, Charles
   Stansberry, Debra
   Stewart, Howard
   Stewart, Patricia
   Stewart, Raymond
   Stewart, Terry
   Stewart, Tomika
   Stirgus, Rosa Mae
   Stockman, Deborah
   Stockman, Nelson
   Stokes, Chanell
   Stokes, Clark
   Stokes, Donald
   Stokes, Nellie, individually and on behalf of minor children, Chase and Chandler Stokes and Kiera
   Hawkins
   Stovall, Lucille
   Sumler, Brenda
   Swanson, Shannon, individually and on behalf of minor children, Samuel Albert, IV and Shayra
   Swanson
   Swanson, Theresa
   Taplette, Donald
   Taylor, Alice
   Taylor, Andrea
   Taylor, Dionne
   Taylor, Earline
   Taylor, John, Jr.
   Taylor, John, III
   Taylor, Kawana
   Taylor, Rudolph
   Taylor, Sherry
   Taylor, Shirley
   Taylor, Victory
   Theard, Donna
   Thomas, Brenda
   Thomas, Deanna
   Thomas, Delores
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   Thomas, Diana Lynn
   Thomas, Donald
   Thomas, Doretha
   Thomas, Jimmie
   Thomas, John
   Thomas, Julia Mae
   Thomas, Luciana
   Thomas, Marie, individually and on behalf of minor child, James Matthew Thomas
   Thomas, Mary Ellen, individually and on behalf of minor children, Bill, Julia, Mikhail, Mikshall and
   Myron Thomas
   Thomas. Michelle
   Thomas, Nichelle
   Thomas, Oranthal
   Thomas, Rose
   Thomas, Shannon, individually and on behalf of minor children, Sawyer Jackson and Satchel
   Thomas
   Thompson, Fannie
   Thompson, Gregory, Sr.
   Tobias, Alsee
   Tobias, Jarvares
   Tobias, Stacey
   Tobias, Ulinda
   Toney, Learlene
   Travis, Willie
   Triplett, Mary
   Turner, Avis
   Turner, Clarence
   Turner, Evelyn
   Turner, Gregory, individually and on behalf of minor child, Zion Turner
   Turner, Shayla
   Tyler, Ora
   Tyler, Tawania
   Vail, Audrey
   Vicknair, Gabriel, Jr.
   Walker, Karen
   Walker, Kelvin, Sr.
   Walker, Maggie
   Walton, Joan
   Ware, Robert
   Warner, Kizzy
   Warren, Janus
   Warren, Stephen
   Washington, Chamaine
   Washington, Dennis
   Watson, Roland, Sr.
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   Watson, Tanya
   Watson, Tonja
   Watson, Yvonne
   Weathersby, Rebecca
   Webb. Alicia
   Welch, Michael, Sr.
   White, Dwayne
   White, Josetta, individually and on behalf of minor children, Reva Bachemin, Clara, Kimberly and
   Thaddeus White
   White, Nathedra
   White, Stacey
   Wiggins, Jesse
   Williams, Alice
   Williams, Anniece
   Williams, April
   Williams, Calvin
   Williams, Cary, Sr.
   Williams, Charmaine Dyer
   Williams, Cyndee
   Williams, Delores
   Williams, Derrick
   Williams, Elaine
   Williams, Elijah, Jr.
   Williams, Ella
   Williams, Gail
   Williams, Gerald, Sr.
   Williams, Harry
   Williams, Janice
   Williams, JoAnn
   Williams, Joseph, Jr.
   Williams, Laura May
   Williams, Mary
   Williams, Natalie
   Williams, Nicholas
   Williams, Patsy, individually and on behalf of minor children, Ashley and Ivan Williams
   Williams, Shawn
   Williams, Sherman
   Williams, Sherry
   Williams, Sidney
   Williamson, Ruth
   Wilson, Audrey
   Wilson, Darlene, individually and on behalf of minor child, Joshua Barnes
   Wilson, Eddie, Jr.
   Wilson, Emanuel
   Wilson, Jesse
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   Wilson, Michelle
   Wilson, Minor
   Winding, Rochelle
   Winfield, Lionel
   Winfield, Willie Mae
   Wishem, Dorothy
   Wishem, Quintosha
   Wolfe, Jervice
   Woods, Julie
   Woods, Vertner
   Worley, Sharmeeka
   Wright, Adrian, Sr.
   Wright, Brandon
   Wright, Carolyn, individually and on behalf of minor child, Brionne Wright
   Wright, Dorothy
   Young, Bobby
   Young, Cecilia
   Young, Deirdre
   Young, Hollis, III
   Young, Pamela
   Young, Sabrena
   Zammarron, Nancy



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   Abbott, Patricia, individually and on behalf of minor child, Brandon Hall
   Alexander, Connie
   Archer. Timothy
   Argue, Lillie
   Argue, Morris, Jr.
   Atkins, Joyce Ann
   Augustine, Kinmichel
   Bacon, Lois
   Bacon, Patrick
   Bacon, Willie, individually and on behalf of minor child, Jared Bacon
   Banks, Carlotta
   Barnett, Denise, individually and on behalf of minor child, Dushaun Barnett
   Barnett, Patrina
   Barnett, Perry
   Batiste, Wayne
   Bell, Franklin
   Bell, Sylvia
   Blouin, Evelyn
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   Breaux, Henry L., Sr.
   Bridges, Rodney
   Brinston, Lucy
   Brown, Anusica
   Brown, Jacquelyn
   McNeil, Alevena Brock
   Burns, Barbara
   Butler, Joyce
   Causey, Charles
   Causey, Julia
   Clark, Pearl
   Collins, Danielle
   Cox, Earl
   Cressey, Shalanda
   Crier, Stephanie
   Crisler, Arlendra
   Davis, Lois
   Dennison, Joyce
   Dewey, Shneitha
   Duplessis, Stephanie
   Eli, Wanda
   Elmore, Curtis
   Felix, Alice
   Francois, Alicia, individually and on behalf of minor child. Jamie Francois
   Gaines, Sandra
   Gladden, Celina
   Green, Eric
   Hamilton, Tracey, individually and on behalf of her minor child, Travis Hamilton
   Hamilton, Keyonta
   Dixon, Ezell
   Hall, Rayshawn
   Hall, Reginald
   Hampton, Glenda
   Harrison, Marilyn
   Haynes, Thawanda
   Henderson, Lewie
   Henderson, Margaret
   Hill, Lee
   Holiday, Yvonne
   Hunter, Catherine
   Jackson, Fannie
   Jackson, Jeanette
   Jackson, Kevin
   Jackson, Vallerie
   Jarrow, Frank
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   Jenkins, Archie, Jr.
   Goffner, Barbara
   Goffner, Ashley
   Jimerson, Shirley
   Jimerson, Edd, Sr.
   Perkins, Marilyn, individually and on behalf of minor children, Theodore Jimerson and Tyralyn
   Perkins
   Capers, Roy, Jr.
   Jimerson, Willie, Sr.
   Johnson, Donna
   Johnson, Gilda, individually and on behalf of minor child, Nikisha Johnson
   Johnson, Tracy
   Jones, Ferdie, Jr.
   Jones, Lillian
   Jones, Reginald J. Sr.
   Joyner, Freddie
   Lafiton, Addison, Jr.
   Lang, Harrison, Jr.
   Lang, Shelia
   Lawrence, Barbara
   Lawrence, Paul
   Lawson, Lee. Jr.
   Leggett, Dwayne
   Martin, Julius
   Mather, James
   Mather, Marylee
   McDonald, Barbara
   McKinsey, Pearlena
   McKinsey, John
   Miles, Veronica
   Miller, Paula
   Millet, Michael, Sr., individually and on behalf of minor children, Montel and Michael Millet, Jr.
   Millet, Shelia
   Mitchell, Bernice
   Moore, Barbara
   Ramsey, Willie Mae
   Runley, Obbie, Sr.
   Santee, Sherrie Ann
   Shields, Alvin, Jr.
   Shields, Barbara
   Simmons, Monica
   Simon, Roy, Sr.
   Simon, Deanna
   Irvin, Erica Evon
   Smith, Andrea
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   Smith, Ruthie
   Stampley, Velbert, individually and on behalf of Michael Stampley
   Lee, Le'Ella
   Sterling, Danita
   Sterling, Rodney, Sr. individually and on behalf of minor children, Ronisha and Rodney Sterling, Jr.
   Taylor, Patrice
   Terry, Erroll
   Thompson, Bobby
   Thompson, Dorothy
   Thornton, Mary
   Thurman, Dorothy
   Tobias, Chaent
   Tobias, James, Jr.
   Triplett, Margaret, individually and on behalf of minor children, Kurtis, Kenneth and Ka'terah Triplett
   Valentine, Melvina
   Watson, Laura
   Weber, James, Sr.
   Weber, Barbara
   Williams, Dianne
   Williams, Doris
   Williams, Leola
   Williams, Rachel
   Williams, Ray
   Wright, Truly
   Youngblood, Tanricka



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   Adams, Gail
   Alexander, Lisa
   Allen, Antoinette
   Andrew, Don
   Anderson, Gloria C.
   Anderson, Henry
   Antoine, Clarence
   Argeyo, Tina Butler
   Armstrong, Avis
   Arnold, Nicole
   Bacchus, Michael
   Badon, I’ve
   Baker, Evelyn
   Barbarin. Paul
   Barnes, Joyce
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   Barracks, Trakeida
   Batiste, Ruby
   Batiste, Stacey
   Battiste, Giselle
   Barthelemy, Tara
   Bax, James
   Bell, Charles
   Bell, Karen
   Bell, Leroy
   Bell, Rosemary
   Bennett, Benjamin
   Bentley, Anthony
   Bentley, Veida
   Biggs, Tenika, individually and on behalf of minor child, Tyrone Hughes
   Blade, Johnny C.
   Boudreaux, John
   Boudreaux, Terri
   Boutte, Elain
   Brackett, Betty
   Brackett, Lionel
   Brackins, Paul, III
   Brackins, Shirletta
   Branch, Edna
   Brent, Gary
   Brent, Mary Elizabeth
   Bridgewater, Melvina
   Briley, Myrtle
   Brooks, Phyllis
   Brown, Julia
   Brown, Lizzie Foster
   Brown, Regina
   Buckner, Denise
   Butler, Kenneth
   Butler, Linda Carter, individually and on behalf of minor children, Gail, Gerald and Lynette Carter
   and Siemay and Siemone Davenport
   Butler, Quailone
   Butler, Yvonne
   Calahan, Marvin
   Cannon, Edmond
   Carmouche, Rosemary
   Carter, Jerrell, Sr.
   Carter, Thoyd
   Cassimere, Joseph
   Chandler, Shirley
   Chartrian, Abram
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   Chester, Charleen
   Claiborne, Rudolph
   Clark, Charles
   Cohn, Barbara
   Colbert, Katrina
   Coleman, Isiel
   Coleman, Merial
   Comeaux, Elnora
   Coney, Allen Duane, Sr. individually and on behalf of minor children, Allen Duane, Jr. and Tamara
   D. Coney
   Coney, Heidi Olivier
   Cowart, Edna
   Crumedy, Patricia
   Cruz, Janice
   Cummings, Karen, individually and on behalf of minor children, Don S. and Janae D. Hurst
   Curry, Honora
   Curtain, Alice
   Curtain, Tommy, Sr., individually and on behalf of minor child, Tylita Curtain
   Curtis, Gwendolyn
   Dapremont, Agnes
   Daunoy, Maybell
   Dauphin, Charles L.
   Davenport, Tyrone
   Davis, Limuel G.
   Dillon, Anita
   Dillon, Lucille
   Dupor, Angela
   Durel, Jennifer
   Dykes, Clara Myles
   Eaglin. Alton, Jr.
   Eaglin. Paulette
   Edison, Mathilda
   Farley, Rhetta
   Fields, Arthurine
   Firstley, Edna
   Fortenberry, Sonia
   Fox, Lolita
   Foy, Damian A.
   Franklin, Edward
   Galle, Troy Lynn
   Galloway, Jocelyn
   Galloway, Rivers, Jr.
   Gaunichaux, Cynthia
   George, Anthony
   Givens, Dellareese
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   Glover, Shelia
   Green, Kenneth E., Jr.
   Green, Margaret George
   Green, Shelia
   Gueringer, Verna
   Guidry, Louis
   Guy, Paulette
   Guyton, Adrian
   Hall, Addie
   Hamlin, Jethro
   Hamlin,. Joseph, Sr.
   Hansell, Maria
   Hardy, Bobby
   Hardy, Zena
   Harris, Dominique
   Harris, Lynette S.
   Harris, Sedonia
   Harrison, Tara
   Harry, Charlene
   Harvey, Toya
   Hawthorne, Geneva
   Hayes, Anquenette
   Henry, Carey B.
   Henry, Dianne, individually and on behalf of minor child, Segmond Henry
   Hingle, Anthony
   Hingle, Diane
   Hingle, Jermaine
   Holden, Adelaide
   Howze, Karen
   Hudson, Lucille
   Hunter, Brent
   Hunter, Pamela
   Hymel, Roland Jr.
   Jacobs, Connie
   Jacobs, Troy
   Jackson, Erman
   Jackson, Yolanda
   Jasmine, Muriel
   Jiles, Michael, Jr.
   Johns, Denise
   Johnson, Catherine
   Johnson, Dominique
   Johnson, Dora
   Johnson, Kenya, individually and on behalf of minor chid, Keisi Johnson
   Johnson, Kim
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   Johnson, Leroy
   Johnson, Reginald
   Johnson, Robert
   Johnson, Viola
   Jones, Alana
   Jones, Brenda
   Jones, Burnell
   Jones, Ella Mae
   Jones, Harry
   Jones, Niya
   Jones, Rosemary
   Joseph, Charlette
   Joseph, Darrell
   Journes, Inez
   Julian, Shanika
   Kelffer, Pamela M., individually and on behalf of minor child, Dynesha Kelffer
   Kelly, Diana L.
   Kelly, Zelda
   King, Edwina
   Labostrie, Beulah
   Landry, Hazel
   Landry, Paul
   Lazard, Lyndon
   Lemar, Gladys
   Lewis, Floydell
   Lewis, Sarah
   Marcell, Ruby
   Marshall, Wifle
   Martin, Dorothy
   Mason, Dianne
   Mathieu, Renette
   Matirne, Tammy, individually and on behalf of minor child, Lamar
   Matthews, Debra
   McCall, Hermina
   McDonald, Jennifer
   McGlothurn, Cassie
   McGlothurn, Sharleen
   McKendall, Nolan, Jr.
   Medice, Joseph, Jr.
   Medice, JoAnn, individually and on behalf of minor child, Brittany Medice
   Mercadel, Florence
   Mitchell, Elizabeth
   Morgan, Taibe
   Morris, Thelma
   Muhammad, Gloria
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   Nellum, Darlene
   Nelson, Shelia
   Oliver, Clyde, Sr.
   Oliver, Gloria
   Oliver, Isabelle
   Oliver, Joseph
   Owens, Cynthia
   Parker, Jerrold
   Parker, Louise
   Parker, Paulette
   Parker, Suzette
   Patterson, Eureka
   Payman, Louise
   Percy, Claudia
   Percy, Michael, Sr. , individually and on behalf of minor child, Michael Percy, Jr.
   Peters, Bartholomew
   Peters, Geneva
   Peters, Shawn
   Peters, Troy A.
   Poinson, Edvige
   Price, Courtney
   Ramsey, Carolton
   Ramsey, Shontel N.
   Randolph, Gwendolyn
   Ratliff, Barbara
   Rayford, Darlene
   Reaux, Leon Robert
   Reimonenq, Herbert
   Reimonenq, Jeanne, individually and on behalf of deceased, Walter Reimonenq
   Reimonenq, Laurel P.
   Reimonenq, Lynn
   Reynolds, Joy E.
   Rickman, Arianne
   Risin, Joyce
   Robair, Alona
   Robinson, Carolyn Stewart
   Robinson, Lawrence T.
   Robinson, Rubbie W.
   Robinson, Sharon
   Robinson, Toya
   Rolland, Shelia
   Roth, Lucia
   Rowzan, Rosie
   Salvant, Christy
   Sanders, Brett
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   Scott, Anitra M.
   Scott, Brenda
   Scott, Lynette
   Self, Callie Mae
   Self, Thomas R.
   Severin, Annabel
   Shanchell, Rosemary
   Shelby, Shamal, Sr. , individually and on behalf of minor child, Shamel Shelton, Jr. .
   Shelton, Anthony, Sr., individually and on behalf of minor children, Kasey and Anthony Shelton, Jr.
   Shelton, Shelly
   Singleton, Kim
   Singleton, Tammy
   Smith, Barbara
   Smith, Calvin
   Smith, Cherlyn
   Smith, Kendall
   Smith, Sabrina
   Smith, Terryl
   Spaulding, Lois
   Stevens, Kercheryl
   Stevens, Monique
   Stokes, Juanita
   Storey, Maple
   Taylor, Adriene L.
   Taylor, Tayaka
   Thomas, Helen
   Thomas, Henry
   Thomas, Julia
   Thompson, Aminn-Gabriel
   Thompson, Basil
   Thompson, Dolores E.
   Thompson, Dolores R.
   Thompson, Eric
   Thompson, Glen
   Thompson, Joshua
   Thompson, Kathleen
   Thompson, Michael
   Thompson, Roy, Sr.
   Tinson, Marchatta
   Toliver, James
   Toliver, Katherine
   Toliver, Rayburn J.
   Townsend, Danny
   Townsend, Zelda
   Turner, Stephanie
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   Varnado, Raven
   Vason, Emma
   Vaughn, Shirley G.
   Walker, Nicole
   Walls, Gary, Jr.
   Washington, Aaron
   Washington, Rashad
   Watkins, Austin
   West, Jimanika
   Williams, Calvin
   Williams, Clea R.
   Williams, Jeanette
   Williams, Mary
   Williams, Natalie
   Williams, Noreen
   Williams, Percy
   Williams, Ralph C.
   Williams, Ralph E.
   Williams, Rhonda
   Williams, Rosemary
   Williams, Shontel
   Williams, Yolanda
   Wilson, Delisyia
   Wilson, Janet
   Wiltz, Carolyn
   Woullard, Ericka
   Wright, Mary
   Youngblood, Juanita
   Youngblood, Kim
   Youngblood, Wanda


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   Abdul, Hassan
   Adams, Gwendolyn
   Adams,. Jeffrey
   Agboola, Jackel, individually and on behalf of minor child, Jorb Agboola
   Alexander, Ethel
   Alexander, Dwight
   Alexander, Patricia
   Alexander, Shirley
   Alexander, Stacey, individually and on behalf of minor children, Dominique and Irielle Clavo
   Alexis, Almenia
   Alexis, Cornelia
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   Alexis, Mason
   Alexis, Terrance
   Allen, Daniel C., Sr.
   Andrew, Lynthia
   Ardoin, Thais
   Armour, Dianna R.
   Armstrong, Debbie M.
   Ashford, Mary
   Ashford, Willie
   Aubert, Kirby
   August, Barbara, individually and on behalf of minor child, Robert E. Mitchell, III
   August, Danita
   August, Jacque
   August, Kent
   August, Kristi, individually and on behalf of minor children, Ashley August, Trent A and Cydney
   Evans
   Augustine, Madeline G.
   Augustine, Donna
   Augustine, Gregory
   Augustine, Helene S.
   Augustine, Whitney
   Ayers, Jerrydine Y.
   Babineaux, Joseph D.
   Babineaux, Mary
   Baker, Serperna
   Banks, LaTanya
   Barnes, Monique
   Barnes, Robert, individually and on behalf of minor child, Rynaia Smother
   Barnes, Sherelle
   Barnes, Trinell
   Barre, Conrad
   Barriere, Florena
   Barrow, Tammie
   Bartholomew, Odeal
   Bartholomew, Omer
   Bassrone, Ida Mae
   Batiste, Carolyn
   Baudy, Cathleen
   Bickham, Albertine
   Bickham, Vicki V.
   Bivens, Morris
   Blackwell, Gerald
   Blanchard, Loretta
   Blunt, Carolyn D.
   Bodden, Eric M.
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   Bolden, Caleb
   Bonnee, Leola B.
   Booker, April D.
   Boudreaux, Michael
   Brady, Clara
   Branch, Ferdinand B., Sr.
   Branch, Jenny. S.
   Braswell, David
   Brazley, Calvin, individually and on behalf of deceased mother, Mattie Bell Brazley
   Brazley, Julie
   Bridges, Juanita
   Brister, Lucy A., individually and on behalf of minor children, Michael Brown, Emanuel, III and
   Myeisha Brister
   Brock, Joseph III
   Brooks, Ella Mae
   Broussard, Pavia
   Brown, Calvin
   Brown, Darrell P., Sr.
   Brown Joyce
   Brown, Nicole
   Brown, Raphael
   Brown, Rhoda M.
   Brown, Timothy
   Bryant, Gladys R.
   Buffa, Hannie E.
   Burton, Lynn A.
   Bush, Merlin
   Butler, Yolanda
   Cambrice, Darleen
   Cameron, Samenthia S.
   Carmouche, Keisha
   Carr, Robert
   Carr, Zina
   Carraby, Losiram, individually and on behalf of minor child, Kesha L. Conner
   Carraby, Tyrone
   Carter, Clara M.
   Carter, Linda M.
   Carter, Maudie L.
   Carter, Tamara C.
   Cass, Karen D.
   Cass, Thomas M., Sr.
   Chapital, Eleanor
   Chartain, Donyel
   Chartain, Francis
   Chartain, Sylvia
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   Clark, Lecia Moore, individually and on behalf of minor children, Francesa and Steven Anthony
   Francois Clark
   Clements, Tonjva
   Cochran, Gail
   Cochran, Tyrone
   Coleman, Cynthia H.
   Coleman, Karin, individually and on behalf of minor children, Herchel Green, Jr.,Kolby M. and
   Trevon Aubert
   Coleman, Lloyd A. Jr.
   Coleman, Nicole
   Coleman, Rona
   Coleman, Willie, Jr.
   Combs, Sheila M.
   Conner, Abe
   Conner, Kevin A., Jr.
   Conner, Linda
   Cook, Harry, individually and on behalf of minor children, Dominique and Joshua N, Cook
   Crosby, Sheila
   Crowley, Felton
   Crowley, Vonda
   Cureaux, Dora M.
   Dallon, Janice M.
   Daniels, Elsie
   Daniels, Jerome
   Dave, Meta H.
   Davis, Dorothy
   Davis, Frank
   Davis, Gloria
   Davis, jimmie
   Davis, Joseph L.
   Davis, Klydenitta L.
   Davis, Sonya
   Davis, Thelma
   Davis, Wanda H.
   DeBose, Cheryl
   Dede, Colette W.
   Dede, Harold A., Jr.
   Dede, Harold A, Sr.
   Dede, Harold A, III
   Dede, William B.
   DeGruy, Raymond
   Dennis, Louis B.
   Dibos, Gloria K.
   Dibos, William, Jr.
   Dillon, Rosie L.
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   Dooley, Derrick, Sr.
   Dordain, Bridgette
   Dorsey, Willie Mae
   Douglas, Nora
   Dozier, Wanda, individually and on behalf of minor children, Joshua and Joy Petes and Elicia Dozier
   Duronslet, Tracy
   Duplessis, Adam T.
   Duplessis, Barbara
   Dupree, Gwendolyn
   Durand, Leon A., Jr.
   Durand, Sharon M.
   Edwards, Calvin J.
   Ellis, Eunice
   Eugene, Alycia
   Eugene, Danielle, individually and on behalf of minor child, Zareaya Fournier
   Eugene, Wendell A.
   Falls, Shawn
   Fava, Sidney, Jr.
   Ferguson, Thyra
   Ferrier, Jerome
   Ferrier, Rebecca
   Finley, Gay B.
   Fleury, Joyce L.
   Flowers, Zalia
   Foster, Beulah
   Fouchia, Burdette
   Fournier, Cortney
   Fournier, Elnora
   Fournier, Reginald, Jr.
   Fournier, Reginald, Sr.
   Foy, Janice L.
   Frank, Ayana M.
   Franklin, Gloria D.
   Freeman, Luverdia
   Fulton, Glenda
   Garner, Kenneth
   Gabriel, Edward
   Gabriel, Paulette
   Galle, Deborah
   Garner, Millie V.
   Garth, Geraldine
   Gaspard, Mary Jane
   George, Arnett
   Gilbert, Janice
   Gill, Patrick
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   Gilmore, Cheryl
   Given, Royal
   Givens, Stephanie Williams
   Glapion, Webster J.
   Gomez, Leon
   Gordon, Janice
   Greco, Peter J.
   Green, Chauncey, Sr.
   Green, Helen, individually and on behalf of minor children, Gina James and Chauncey Green, Jr.
   Green, Sherrill
   Grinstaff, James E. , III
   Guss, Janice
   Guy, Willie Mae
   Haines, Helen
   Hamilton, Kenneth
   Hardy, Kim
   Hardy, Suewann
   Harris, Brenda
   Harris, Franklin
   Harris, Margaret
   Harris, Todd
   Haynes, Beryln
   Hebert, Brandon
   Henry, Marion O.
   Henry, Zaquia, individually and on behalf of minor child, Xavier Henry
   Herron, Martha
   Herron, Willie
   Hill, Thomas
   Hillard, Sharon
   Hills, Minerva
   Hines, Calvin, Sr., individually and on behalf of minor children, Calvin, Jr. and Corie Hines
   Hollins, Charles, Jr.
   Holloway, Chalimthain
   Honora, Lanette
   Hopson, Billy
   Horne, Joyce
   House, Nekia
   Houston, Loletha-Jones
   Howard, Cathy
   Howard, Gregory
   Howard, Rita
   Howard, Wiala
   Hubbard, Cheryl A.
   Hudson, Eugene
   Hunter, Debra A.
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   Hunter, Henry J.
   Hunter, Janice H
   Hunter, Joseph L.
   Hunter, Krystle M.
   Hunter, Sharon
   Hyde, Deanne
   Hyde, Savana
   Jackson, Denise, individually and on behalf of minor children, Kyron, Joseph and Joshua Jackson
   Jackson, Robert
   Jackson, Sandra
   Jacob, Willie Mae
   James, Beatrice
   Janeau, Preston, Jr.
   Jason, Carameca
   Jason, Leroy
   Johnson, Beverly
   Johnson, Crystal
   Johnson, Darlene
   Johnson, Gwendolyn
   Johnson, Katie
   Johnson, Lajaunda
   Johnson, Leona C.
   Johnson, Letha
   Johnson, Marilyn
   Johnson, Pamela
   Johnson, Shenia
   Johnson, Troy
   Johnson, Vera
   Jones, Brian
   Jones, Emanuel
   Jones, Erma H.
   Jones, Lakisha
   Jones, Maye
   Jones, Waymon
   Joyner, Valerie S., individually and on behalf of minor child, Jardin
   Judie, Winston
   Julian, Darrell
   Julien, Loretha
   Kagler, Brenda
   Kareem, Maajid
   Kelly, Mercy
   Kennedy, Carol
   Kennedy, Danny
   Kennedy, Irma
   Kent, Adrian A.
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   King, Gail D.
   Kirts, Larry
   Kyles, Roslyn
   LaBeau, Shirley
   LaBostrie, Joycelyn
   LaBostrie, Roseanne
   Lassere, Angela, individually and on behalf of minor children, Devin Lassere, Dyllan and Tyranni
   Navarre
   Ledet, Daniel A.
   Lee, Denise
   Lehrisse, Joseph A.
   Lehrisse, Marcia
   Lehrisse, Sidney
   Lemon, Joanne E.
   Leon, Clarence
   Leon, Danielle
   Leon, Madeline R.
   Lewis, Wanda A.
   Llopis, Latara M.
   London, Gaynell M.
   Longmyle, Betty
   Lowe, Bridget
   Lowe, Elaine
   Mackey, Abe
   Magee, Annie
   Magee, Delores
   Magee, Jesse
   Magee, Mark
   Magee, Michael
   Maldon, Rose
   Mann, Maxie
   Marigny, Elliott
   Mark, Willie Mae
   Marks, Stacie
   Marquez, Karl
   Matthew, Barbara
   Matthews, Thelma
   Mayronne, Louis
   McClinton, Janice
   McCollum, Leonard, Jr., individually and on behalf of minor children, Joshua and Leonard Mccollum,
   III
   McCollum, Monette
   McFields, Charles
   McFields, Joyce
   McGee, Barbara
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   McKendall, Easterlyn, individually and on behalf of minor children, Dominic and Nicholas McKendall
   and Brozk Doeering
   McKendall, Gary, II
   McKendall, Glenette
   McKendall, Oliver
   McKenzie, Linda
   McKenzie, Melvin, Sr., individually and on behalf of minor children Melvin, Jr., and Portia McKenzie
   Melancon, Anthony
   Melson, Linda L.
   Mesley, Kelly
   Miller, Brenda
   Millsaps, Martin
   Mitchell Stephen
   Moore, Betty
   Moore, Joseph, III
   Morgan, Carolyn
   Morgan, Donald
   Mosley, Curtis
   Mulder, Eliza
   Myles, Monique
   Myles, Yvonne
   Nelson, Angel
   Nelson, Ann
   Nelson. Earline
   Nelson, Linda
   Nelson, Queen
   Nelson, Raymond
   Nelson, Richard
   Nelson, Ted
   Nelson, Wayne
   Nero, Dorothy
   Newsome, Dianne
   Oatis, Michele
   Odom, Eddie
   Oliver, Clyde, Jr.
   Oliver, Clyde, Jr., Mrs.
   Oscar, Shirley
   Palmer, Troylynn
   Parker, Arnise
   Parker, Sabrina
   Parker, Stella
   Payne, Alaina
   Payne, Alma
   Pellegrin, Barbara
   Pepe, Shemane, individually and on behalf of minor children, Monique, Sean and Sterling Pepe
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   Perkins, Karen
   Perette, Billie Jean
   Perette, Louis, Jr.
   Perette, Louis, III
   Perette, Tabatha
   Perrier, Gloria
   Peters, Janice
   Phipps, Quianne
   Pittman, Peggy, individually and on behalf of minor child, Joseph Pittman
   Pitts, Clara
   Pitts, Lorraine
   Pleasant, Wanda
   Porter, Ernest
   Porter, Linda
   Porter, Pearly
   Porter, Yolanda
   Prevost, Dionne
   Prevost, Marion
   Ragas, Marguerite
   Rand, Brittany
   Rand, Rosalie
   Rand, Shannon, individually and on behalf of minor child, Malik Williams
   Rankins, Synethia
   Rayford, Dock, Jr.
   Rayford, Elkisha
   Rayford, Maggie
   Rayford, Sabrina
   Reed, Sonya
   Rhea, Allen
   Richards, Elizabeth
   Richards, Sharon
   Richards, Yvonne
   Richardson, Dorothy
   Richardson, Albert, III, individually and on behalf of minor children, Albert, IV and Ashton
   Richardson
   Richardson, Trina
   Richardson, Sharon
   Rickmon, Shelita
   Roach, Kenneth
   Robertson, Gaynell
   Robertson, Jesse, Sr.
   Robichaux, Paula
   Robinette, Dwayne
   Robins, Vickie
   Robinson,. Blanche
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   Robinson, Celeste
   Robinson, Denetria
   Robinson, Joyce
   Robinson, Preston R. Sr., individually and on behalf of minor children, Preston, Jr. and Lennie Haynes
   Robinson, Ronald
   Rogers, Brenda
   Rome, Gaynell
   Rondeno, Margo
   Ross, Vendetta
   Royal, Sabrina
   Royal, Sheppard
   Salgado, Guillermo
   Sam, Cynthia, individually and on behalf of minor children, William Sam and Troquetta White
   Sanders, Norbert
   Sartin, Lillie Mae
   Sauzo, Jeanie
   Scorza, Rene
   Scorza, Shawn
   Scorza, Sheryl
   Scott, April
   Scott, Cedric, individually and on behalf of minor child, Genesis Scott
   Scott, Curtis, Sr.
   Scott, Michelle
   Segue, Rosa
   Shelton, Angela
   Sheppard, Alma
   Sheppard, Louis, Jr.
   Signorelli, John
   Simmons, David
   Sinegar, Brenda
   Smith, Clayton
   Smith, Craig
   Smith, James
   Smith, Kenneth
   Smith, Lionel, Jr.
   Smith, Lisa
   Smith, Marcus
   Smith, Tenisha
   Smith, Yolanda, individually and on behalf of minor children, Brandon, Chaz and Travis Smith and
   Matthew Sanders
   Smith, Tenisha
   Snyder, Michael
   Sorina, Gary
   Spears, Gerald, Jr.
   Spears, Gerald, Sr.
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   Starwood, Thelma
   St. Cyr, Zeno
   Steger, Brian
   Stevens, Eryk
   Stevens, Monica, individually and on behalf of minor children, Jasmine and Xavier Stevens
   Sylvester, Theresa
   Sylvie, Angela
   Taylor, Carolyn
   Taylor, Felman, Jr.
   Taylor, Lakeya
   Taylor, Sharrel, individually and on behalf of minor children, Karis and Kevaun Taylor
   Taylor, Wanda
   Telemaque, Marjorie
   Thomas, Celeste
   Thomas, Sylvia
   Thompson, Cheryl, individually and on behalf of minor children, Eldridge Thompson and Shawn
   Taylor
   Thompson. Myrtle
   Thompson, Robert
   Trotter, Lois
   Trudeaux, Charlene
   Tucker, Cynthia
   Tucker, Freddie, Jr.
   Turbinton, Patricia
   Turner, Keytree
   Tyler, Gregory
   Turner, L.J.
   Valentine, Audrey
   Valentine, William
   Vance, Alfred
   Vance, Lois
   Varnado, Danielle, individually and on behalf of minor child, Marvin Varnado
   Vicknair, Darren
   Victorian, Adrian
   Vigne, Lance
   Walton, Cheryl
   Walton, Wayne
   Ward, Frank
   Ward, Patricia
   Ward, Warren
   Washington, Alvin
   Washington, Byron
   Washington, Cheryl
   Washington, Denise
   Washington, Helen
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   Washington, Melody
   Washington, Willie
   Webb, Antoinette
   Weber, Aldean
   Weber, Ollie
   White, Troy
   Williams, Chauntel
   Williams Conrad
   Williams, Dwayne, individually and on behalf of minor children, Dyamond Williams and Gregory
   Gibson, III
   Williams, Gerard
   Williams, Jared
   Williams, Jocqlene
   Williams, Johnnie L.
   Williams, Keith
   Williams, Marsha
   Williams, Mildred
   Williams, Percy
   Williams, Ramona
   Williams, Ray
   Williams, Sylvester
   Williams. Sylvia
   Williams, Tyronne, Jr.
   Williams, Tyronne, Sr.
   Williams, Yvette
   Williby, Alvin, Sr.
   Williby, Sandra
   Willis, Patricia
   Wilson, Carl
   Wilson, Ellis
   Wilson, Florence
   Wilson, Lorraine
   Wilson, Roland
   Wilson, Sam
   Wiltz, Loretta
   Wiltz, Nicholas
   Wiltz, Sidney, III
   Winfield, Donna
   Winfield, Eeseeayl
   Winfield, Sandria
   Woods, Simone
   Woods, Vernon
   Wright, Ernest, Jr.
   Wright, Ernestine
   Wyble, Sherlyn
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   Young, Elbert
   Young, Kevin
   Young, Patricia A.

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   Brock, Emma
   Brock, Lawrence
   Burton, David
   Carazo, Teresa M.
   Casby, Shirley
   Catalanotto, Mary
   Dyer, Kenneth
   Fandrich, Alvin
   Fandrich, Jane
   Floyd, Velma
   Garrison, Suzanne
   Lacoume, Arthur, III
   Newton, Stephanie
   Pham, Dao T.
   Plaier, JoAnn
   Schouest, Cindy Lou
   Thomas, Mary
   Zander, Patricia

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   Adams. Ruthie
   Alexander, Cindy
   Allen, Beulah
   Bailey, Sandra
   Barker, Latasha
   Barra, Brian
   Beasley, Carolyn
   Beasley, Shneitha
   Bocage, Antoinette
   Bourgeois, Ernest
   Bradley, Theodoria
   Brown, Bertha
   Brown, Gwen
   Brown, Margaret
   Bruce, Dennis
   Brumfield, Lovell
   Butler, Robert
   Byrd, Miranda
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   Camaille, William
   Carter, Burdette
   Carr, Ronald
   Chefney, Pamela
   Claiborne, Terry
   Clayton, Shirley
   Cotton, Lillie, individually and on behalf of minor child, Kenneth A. Garner
   Davis, Robin
   Davis, Roxanne
   Davis, Talesha
   Delmore, Lisha
   Esteves, Gertrude
   Evans. Avis R.
   Exkano, Jessie
   Givens, Elaine Williams, individually and on behalf of deceased, Lee Williams
   Williams, Eric
   Gordon, Roderick
   Gray, Thomas
   Harris, Bryan
   Harris, Granetta
   Harris, Patrice, individually and on behalf of minor children, Torion and Dominic Harris
   Harris, Kline
   Jackson, Harvey
   Hebert, Andrew
   Hebert, Kevin
   Hilton, Frances
   Hilton, Leonard
   Hilton, Mandy
   Holmes. Deloris
   Hookfin, Donald
   Hooker, Alvin
   Hughes, Maggie
   Hutchinson, Alfred
   Isadore, Joel
   Jackson, Patricia
   Jenkins, Dorothy
   Jefferson, Mary
   Johnson, Eva
   Johnson, Joseph
   Johnson, Lynn
   Jones, Juanita
   Jones, Lillie
   Jones, Vanetta
   Joseph, Evangeline
   Lambert, Debra J.
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   Lambert, Jemal
   Lee, James
   Leonard, Shkayia
   Letulle, Barbara
   Lewis, Deanna
   Lewis, Jane, individually and on behalf of minor children. Jyrielle Lewis and Louis Landers, III
   Lewis, Verline
   Lewis, Yolanda
   Lloydrake, Lorraine
   Lott, Charles, Sr. individually and on behalf of minor children, Charles Lott, Jr. and Terrol Forrest
   Lott, Betinya
   Mack, Sylvia
   McElveen, Hope, individually and on behalf of minor children, Arthur, Charles, Chabria, B.J. and
   Briaria McElveen
   Morgan, Reva
   Morris, Dorothy
   Morrow, Mary
   Noble, Albert
   Payne, Antonie S. Gilmore
   Payton, Demetrius
   Payton, Giselle S.
   Polk, Harriet S.
   Polk, Ronald Louis
   Porter, Charlton
   Price, Ambrus C.
   Price, Frazile M.
   Putman, Cora
   Ross, Beverly
   Ross, Steve
   Robinson, Harold L., Jr.
   Robinson, Keenan
   Rodriguez, Sumika
   Roubleau, Tiffany
   Scott, Cheryl
   Scott, Irene
   Sims, Jeanette
   Smith, Edward D.
   Solomon, Carolyn
   Sprunk, Gwen
   Stewart, Lottie
   Terrell, Jane
   Kyles, Larry S.
   Thomas, Geraldine
   Walker, Gregory
   Webb, Cynthia
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   Wheeler, Willie
   White, Annie
   White, Dwayne
   Wicker, Lawrence
   Williams, Aaron
   Williams, Albertha
   Williams, Andrea
   Williams, Joseph
   Williams, Lynette
   Williams, Pierre, individually and on behalf of minor children, Lionel Burr, Jr., Jatuom and Lionnel
   Clofer and James Jacoby
   Wilson, Dorothy
   Wright, Janis

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   Aaron, Oliver
   Aaron, Ruby C.
   Akins, Ralph
   Albert, Dana
   Alberts, Onika, individually and on behalf of minor children, Derrion Burks, Daisia and Lania
   Alberts
   Alfred, Sandra Lewis
   Allen, Audrey
   Allen, Ethel
   Allen, Terry
   Anatole, Arthur
   Anatole, Melva
   Anderson, Robert
   Anderson, Sabrina
   Anderson, Willie
   Andrews, Carolina, individually and on behalf of minor children, Ratley and Stanley Andrews
   Andrews, Sidney
   Antoine, Arnold
   Antoine, Gerald
   Armour, Charles, Jr.
   Armour, Johnnie
   Arnolie, Ethel
   Arnolie, Wilfred
   Ash, Ann
   Augustine, Alice
   Augustine, Clarence
   Augustine, Precious
   Augustus, Kevin
   Bacchus, Michael, individually and on behalf of minor child, Bria Bacchus
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   Bailey, Emily
   Ball, Ozzie
   Banks, Barbara
   Banks, Doris
   Banks, Eric C.
   Banks, Erica L.
   Banks, Lawrence, individually and on behalf of minor children, Heather and Henry Adams
   Banks, Tony
   Barber, Sylvia
   Barker, Anthony
   Barnes, Betty
   Barnes, Donald
   Barnes, Dwight
   Barnes, Gwendolyn
   Barnes, Roberta
   Beasley, Brenda
   Bechet, Kim Porter
   Bell, Annie
   Bellanger, Baby Ray
   Bellanger, Harry, individually and on behalf of minor children, Justin and mark Thomas and Reginald
   Bellanger and on behalf of deceased, Pearl Bellanger.
   Bellanger, Tynia
   Bennett, Zina
   Bernard, Norell
   Bickham, Ella
   Bijou, Belinda
   Bierria, Jacquelyn
   Billizon, Ronald
   Blackburn, Creola
   Blackburn, Debra
   Blunt, Michael
   Blythe, Martin
   Boatner, Geraldine
   Boatner, Latasha
   Bolden, Tiana
   Booth, Tammie L.
   Boudreaux, Sheryl
   Bourgeois, Brandy
   Bowie, Clarence
   Braddy, Ray
   Bradley, Elizabeth
   Bradley, James
   Breland, Willie
   Briggs, Shakeitric
   Brion, Jolinda
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   Brooks, Loretta
   Brooks, Paula
   Brooks, Steve, individually and on behalf of minor children, Broderick and Samantha Brooks
   Browder, Orbadella
   Browder, Ronald
   Brown, Betty
   Brown, Edward
   Brown, Harold
   Brown, Kevin
   Brown, Mattie
   Brown, Sylvia
   Brown, Therease
   Brown, Valerie
   Brown, Vernon, individually and on behalf of minor child, Kendall Brown
   Bruce, Joyce T.
   Burks, Ceola
   Burris, Eddie
   Bush, Jerome, Jr.
   Calender, Elnora
   Calender, Lenora
   Camel, Ernest, Jr.
   Cameron, Stella
   Campbell, George
   Carradine, Francis
   Carter, Alvin
   Carter, Joseph
   Carter, Pamela, individually and on behalf of deceased, Cedonia Branch
   Causey, Darlene, individually and on behalf of minor children, Leon, Trasha and Patrick Causey
   Chapital, Richard
   Chestnut, George L.
   Chestnut, Jacquelyn
   Chretian, Tara
   Christmas, Adolph
   Christmas, Mary
   Claiborne, Gwennella
   Clark, Jeffrey
   Clark, Sandra
   Cobb, Angela McQuirter, individually and on behalf of minor child, Frederick Cobb
   Coleman, Edward
   Coleman, Janice
   Collier, Frank, Jr.
   Collier, Jilleion, individually and on behalf of minor child, Jamalias Bolden
   Collins, Alvin
   Collins, Julia
   Collins, Larry D.
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   Cooley, Earnest
   Cooper, Stimmie
   Cosse, Claude G.
   Cottrell, Elias
   Coudray, Yolanda
   Craig, Lionel
   Crawford, Jacquelyn
   Crawford, Kareem J. Sr.
   Crawford, Melvin, individually and on behalf of minor children, Jessica and Breshall Lee
   Creer, Jeremy
   Crutchfield, Johnny
   Curley, James, Jr.
   Curley, James, Sr., individually and on behalf of minor child, Shondria Curley
   Curley, Wanda
   Curley, William
   Cushenberry, Hannah
   Cushenberry, Larry
   Cyres, Bridgette
   Daniels, Brittany
   Daniels, Cynthia, individually and on behalf of minor child, Ahmyl Daniels
   Dantzler, J.D.
   Dauphin, Michael
   Davis, Elise
   Davis, Horace, Jr.
   Davis, Horace, Sr.
   Davis, Josephine
   Davis, Joy
   Davis, Terri
   Davis, Vallie Q.
   Davis, Warren
   Dawson, Dewayne
   Dawson, George, Jr.
   Dawson, George, Sr., individually and on behalf of minor child, Kenyerria Jones
   Dawson, Gloria
   Dawson, Gregory A.
   Day, Chaquita
   Day, Pamela
   Debose, Judy
   Dees, Frederick D., Jr.
   DeGruy, Glen A., Jr.
   DeGruy, Glen A., Sr.
   DeGruy, Terry W.
   Delandro, Isaac W.
   Delandro, Naomi
   Diaz, Rosalina, individually and on behalf of minor child, Stephanie Lynn Diaz
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   Dillon, Jacqueline
   Dillon, Sandra, individually and on behalf of minor child, Skyy Moore
   Dillon, Scott
   Dillon, Stanley
   Dilosa, Keyoka
   Dison, Clement
   Dison, Earnest
   Dison, Eline
   Dison, Gwendolyn
   Dominguez, Bianca
   Ducksworth, Mary
   Ducre, Kynisha
   Dunbar, Audry Vicks
   Dwyer, Bernadine
   Dyer, Cathy Foy, individually and on behalf of minor children, Julien and Lucien Foy
   Dyer, Oliver
   Emery, Mary
   England, Carrie
   Ervin, April
   Ervin, Kevin L., Sr., , individually and on behalf of minor child, Michael Ervin
   Evans, Daryl A.
   Evans, Everett
   Evans, Suedania
   Evans, Tony
   Farinas, Cynthia
   Farinas, Emelina
   Farinas, Oscar
   Felicien, Keyonne
   Ferguson, Walker, Jr.
   Fields, Shontel Marie
   Finch, Terrance Lee
   Fleming, Ernest
   Fleming, Kenyan
   Fleury, Judy B., individually and on behalf of minor child, Brandon and Brian Fleury
   Fleury, Kenneth
   Flot, Tiffany N.
   Foley, Juanita
   Foley, Gilbert, Jr.
   Ford, Jacquelyn Brown
   Ford, Stella
   Foxworth, Taronda
   Francis, Arnold J.
   Francis, Herman, Jr.
   Francis, Viola
   Frank, Sharon T.
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   Franklin, Cynthia, individually and on behalf of minor child, Jonika Franklin
   Franklin, Edward
   Franklin, Gayle
   Franklin, Paulette, individually and on behalf of minor children, Emanie and Ebony Franklin
   Frenzel, Isaac
   Fuertes, Mildred
   Fulton, Cherlyn
   Fulton, Ellis, Jr.
   Fulton, Ellis, Sr., individually and on behalf of minor child, Elicia Fulton
   Gable, Cheryl T.
   Galloway, Jerry Ann, individually and on behalf of deceased mother, Lillian Galloway
   Galloway, Maudie
   Gaskin, Margaret, individually and on behalf of deceased spouse, Arthur Gaskin
   Gaspard, Lionel
   Gaspard, Margaret, individually and on behalf of minor child, Paulette Wilborn
   Gatlin, Jesse J.
   Gaynor, Catherine
   Gaynor, Clarence
   Gibbs, Dianne
   Gilardoni, Carla
   Gilardoni, Vera
   Gipson, Henry
   Gipson, Rose
   Gipson, Kezia, , individually and on behalf of minor child, Rachel Hines
   Glapion, Alton, Jr.
   Goldsmith, Irene
   Gordon, Jerome, individually and on behalf of deceased father, Marcel Gordon
   Gordon, Rita
   Gordon, Willie
   Grant, Alice
   Gray, Betty
   Gray, Robert
   Gray, Sandra
   Green, Albert
   Green, Alice
   Green, Dan
   Green, Louise
   Griffin, Claire
   Grinstead, Robert
   Grinstead, Rosie
   Guimont, Lawrence, Jr.
   Guimont, Lawrence, III
   Guimont, Lynne
   Guter, Regina
   Haines, Kenneth
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   Haines, Tina
   Hall, Beverly
   Hall, Renette
   Hamilton, Willie
   Hampton, Beverly
   Hampton, James
   Hardy, Alicia
   Harness, Charlestine
   Harper, Trenise
   Harris, Natasha
   Hart, Landra
   Harvest, Lisa G.
   Harvest, Malcolm
   Hawkins, Elmira
   Hawkins, Francis
   Hawkins, Gloria
   Hawkins, Walter
   Hayes, Bernard, Jr.
   Hayes, John
   Hayes, Joycelyn
   Hayes, Keegan
   Hayes, Latoshia
   Haywood, Janice
   Henry, Christopher
   Henry, Yvonne
   Herd, Ellis
   Herrera, Carlo
   Hill, Jenna
   Hill, Michael, individually and on behalf of minor child, Jasmine Hill
   Hilton, Jimmie
   Hitchens, Airzela M.
   Hogan, Gloria
   Hogan, Jeffery
   Hogan, Moses
   Holmes, Christine
   Holmes, Debra
   Holmes, Elaine
   Holmes, Kenneth
   Holmes, Louis
   Horne, Carolyn
   Horne, Tomiko
   Howard, Gregory
   Howze, Harold
   Howze, Karen
   Howze. Tori
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   Hubbard, Lester
   Hughes, Bessie
   Hulbert, Lisa, individually and on behalf of minor children, Steven Payton and Shavante McKendall
   Hunter, Elwyn
   Hurd, Trudy, individually and on behalf of minor child, Omar Hyrd, jr.
   Husband, Darlene
   Husband, Dorothy
   Husband, Gregory
   Hyams, Evelyn
   Jackson, Audrey
   Jackson, Carol
   Jackson, Lester
   James, Ethel
   James, Julia
   James, Willie
   Jeanjacques, Preston
   Jemson, Karen
   Jenkins, Kawanda
   Jenkins, Lana
   Jenkins, Willie
   Jiles, Jeanette
   Jiles, Oscar
   Johnson, Angel, individually and on behalf of minor children, Trey Alvis, II and Treasure Johnson
   Johnson, Armanita
   Johnson, Belinda, individually and on behalf of minor children, Jalinda, Jabryne and Jeremy Johnson
   Johnson, Camile, individually and on behalf of minor children, Diasana Scott and Ishyne Johnson and
   on behalf of deceased mother, Hattie Wimberly
   Johnson, Deidre
   Johnson, Fred
   Johnson, Herbert
   Johnson, Jacquelyn
   Johnson, Joyce
   Johnson, Kenneth
   Johnson, Leon
   Johnson, Marques
   Johnson, Marvin
   Johnson, Pauline
   Johnson, Renata
   Johnson, Valencia
   Johnson, Wayne
   Johnson, Wilhelmenia
   Jones, Brenda
   Jones, Claudette
   Jones, Curtis
   Jones, Edward
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   Jones, Gisele
   Jones, Gloria
   Jones, Katherine
   Jones, Katrina
   Jones, Milow
   Jones, Robert
   Jones, Ruthie
   Julien, Janice
   Julien, Maceola
   Julien, Rene
   Jupiter, Albert
   Keeler, Denise, individually and on behalf of minor children, Javon and Jazman Keeler
   Kelly, Beatrice
   Kelly, John
   Ker, Gerard
   Ker, Marilyn
   Ketchens, Randolph, Sr.
   Knight, Charles
   Knight, Eric
   Knight, Mildred
   Kyles, Elizabeth
   Lagarde, Carmelita
   Lambert, Daniel
   Lambert. Doris
   Landor, Mary
   Landry, Brandon
   Landry, Gail
   Landry, Judith
   Landry, Melvin
   Lang, Dolores
   Langston, Constance
   Langston, Michael, individually and on behalf of minor children, Angelique and Brittany Langston
   Lavigne, Octavia
   Lavigne, Thomas, Jr.
   Lavigne, Thomas, III
   Lawrence. Tadrika
   LeBeau, Marva
   Ledet, Joseph
   Lewis, Freeman
   Lewis, Milton
   Lewis, Robert
   Lewis, Sadie
   Lindsey, Kermit
   Lindsey, Lawrence
   Lindsey, Matthew
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   Lindsey, Veronda, individually and on behalf of minor children, Brionne, Elisha and Lakiesha Bell
   Lindsey, Willie
   Long, Doris
   Louis, Natalie
   Lowe, JoAnn
   Lucas, Annie
   Lundy, Paulette
   Lyons, Denise
   Magee, Akira
   Magee, Ethel
   Magee, Jamel
   Magee, James, individually and on behalf of minor child, Dejon’que Magee
   Magee, Latrica
   Manzano, Arsenio
   Marshall, Amy
   Martin, Anderson
   Martin, Anna
   Martin, Barry
   Martin, Betty
   Martin, Bridget, individually and on behalf of minor child, Blair Martin
   Martin, Barry
   Martin, Raandi
   Matthew, Torin
   Matthew, Vernadine
   Matthews, Brandis
   Matthews, Alfred
   Matthews, Karen, individually and on behalf of minor child, Raven Matthews
   Matthews, Marcia
   Matthews, Stephen
   McCormick, Chalita
   McCormick, Connie
   McCrey, Adrina
   McDonald, Daniel, Jr.
   McDonald, Daniel, Sr.
   McDonald, Eldora, individually and on behalf of minor children, Brandon Young and Gerald Burns
   McFarland, David, Sr.
   McGowan, Anthony
   McGowan, Annie, individually and on behalf of minor child, Tobias McGowan
   McGowan, Derrick
   McGowan, Jannie
   McGowan, Josie
   McGowan, Latoya
   McGowan, Tyrone
   McNair, Mary
   McQuirter, Kendra
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   Meredith, Brett
   Meredith, Velma
   Meyers, Betty
   Meyers, Sherita
   Miles, Rosemarie
   Millaud, Joseph
   Millaud, Lorraine
   Miller, Herbert
   Miller, Dorothy
   Miller, Maxine
   Mills, Charlene
   Mills, Frank
   Mitchell, Tiffany
   Montgomery, Ernest
   Montgomery, Floyd
   Montgomery, Laura
   Montgomery, William
   Moore, Anthony
   Moore, Arthur
   Moore, Alberta
   Moore, Betty
   Moore, Kenneth
   Moore, Myron
   Morgan, Annie
   Morgan, Delores
   Morgan, James
   Moses, Michael
   Mosely, Paul
   Murphy, Eugene
   Mushatt, Elaine
   Nandkumar, Daisy
   Nandkumar, Khemraj, Sr., individually and on behalf of minor child, Khemraj Nandkumar, Jr.
   Newbill, Katrice
   Newell, Racquel
   Newsome, Donald
   Nicholas, Jeanne
   Noble, Darrell
   Noel, Louis, Jr.
   Osum, Joyce
   Owens, Brenda
   Owens, Michael, Sr.
   Palmer, Erin
   Palmer, Kendra
   Palmer, Matthew
   Panna, Anna
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   Parker, Donald
   Parker, Jari
   Parker, Nicole
   Parker, Rozanna
   Parker, Ruth
   Parker, Yvonne
   Parker, Shimetta
   Payton, Itisha
   Pendleton, Mary
   Perkins, Darlene
   Perkins, Doris
   Perkins, Henry
   Perkins, Millie
   Perrette, Kimberly
   Perry, Beverly
   Peters, Joyce
   Peters, Rickie
   Peters, Salvador
   Pierce, Darnell
   Pierce, Gregory
   Pitts, Terrell
   Platt, Barbara
   Platt, Keefus
   Platt, Waverly, Jr.
   Ponson, Thomas
   Price, Leonard
   Price, Patricia
   Prograis, Shelita
   Provost, Gregory
   Provost, Mary
   Pugh, Kynisha
   Quarles, Robby
   Rainey, Barbara
   Ramsey, Brittany
   Ramsey, Cherry, individually and on behalf of minor child, Chavis Ramsey
   Randall, Gloria
   Randall, Irvin
   Ransom, Audley, Jr.
   Ransom, Glenda, individually and on behalf of minor child, Ashley Bell
   Ratliff, Artheryn
   Rawlins, Joyce
   Reed, Charles
   Reed, Quinton
   Reine, Barbara
   Rhodes, Joyce
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   Riley, Phyllis
   Rivarde, Joyce
   Rivarde, Vernon
   Roberts, Cesily, individually and on behalf of minor child, Courtney Roberts
   Roberts, Jared
   Roberts, Keith
   Roberts, Leatrice
   Robertson, Evelina
   Robertson, Joyce
   Robertson, Louis
   Robertson, Louise
   Robinette, Joachim, III
   Robinson, Allie, individually and on behalf of minor children, Swanika Robinson and Vinetrell
   Cheavious
   Robinson,. Betty
   Robinson, Formando
   Robinson, Jane
   Robinson, Oscar
   Robinson, Rose
   Robinson, Tyrone, Sr.
   Rock, Kimberly
   Rodgers, Troy
   Rodney, Gary
   Sadler, Dylsia
   Sadler, Henry, Jr.
   Sadler, Henry, Sr.
   Sam, Mose
   Sam, Dina, individually and on behalf of minor child, Brittany Sam
   Sanchez, King, Jr.
   Sands, Diane
   Santinac, Marion
   Saunders, Ralph
   Saverin, Dora
   Saverin, Trenise
   Saverin, Reyna
   Saverin, Terrance, Sr. individually and on behalf of minor children, Terrance, Jr., Amber and Trittany
   Saverin and Angelica Richard
   Scorza, Trina
   Seals, Dorothy
   Shelby, Barbara
   Sherman, Janice
   Shields, Valerie
   Simmons, Donna
   Simmons, Ida
   Simmons, Joan
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   Simmons, Lucille
   Sims, Ernestine
   Sims, Jesse
   Singleton, Johnny
   Slack, Brian
   Slack, Deidre
   Smith, Andy
   Smith, Clayton
   Smith, Cristal
   Smith, Curtis
   Smith, Dorothy
   Smith, Jarmone
   Smith, Jowan
   Smith, Kina
   Smith, Maisie
   Smith, Mary
   Smith, Pamela
   Smith, Ronald
   Smothers, Corletta
   Smothers, Earl
   Soltan, Mahassen
   Sparks, Brenda
   Spencer, Grace
   Spurlock, Deborah
   Spurlock, Frank
   Steward, Helen
   Stewart, Deneen
   Stewart, Erik
   Stieas, Elaine
   Storey, Maple
   Stovall, Melvin, individually and on behalf of minor child, Toi Williams
   Stovall, Wilkie
   Summers, Ora Lee
   Tallie, Georgiana
   Taylor, Donald
   Taylor, Mary
   Taylor, Patricia
   Taylor, Tynisha
   Temple, Leonard
   Thomas, August
   Thomas, Betty
   Thomas, Caron
   Thomas, Elaine
   Thomas, Helen
   Thomas, Joseph
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   Thomas, Lillie
   Thomas, Patricia
   Thomas, Sandra, individually and on behalf of minor child, Christopher Jones
   Thomas, Wesley
   Thompson, Adrienne
   Thompson, Arthur, Jr.
   Thompson, Darrol
   Thompson, Eugene
   Thompson, Jeremy
   Thompson, Leroy, Sr.
   Thompson, Robert
   Thompson, Robin
   Thompson, Sierra
   Thornsberry, Tyrone
   Thymes, Alvin
   Toney, Jacquelyn
   Toney, Leroy
   Tuner, Aledria, individually and on behalf of minor children, Junisha Smith and Jerleva Martin
   Turner, Earl
   Turner, Elsie
   Turner, Juanita
   Turner, Robert, Sr.
   Urbina, Ada M.
   Vallery, Cheryl
   Vappie, Sandra
   Varnado, Alphonse
   Walker, Alexis
   Walker, Alvin, Sr.,individually and on behalf of minor child, Alvin Walker, Jr.
   Walker, Jason
   Walker, Latoya
   Walker, Supernia
   Wallace, Glynis
   Ward, Catrina
   Ward, Connie
   Ward, Pamela, individually and on behalf of minor children, Earl Thomas, III and Brandi Ward
   Ward, Travis
   Warner, Jermaine
   Warner, Sabrina
   Washington, Bernadean
   Washington, Calvin
   Washington, Linda
   Washington, Louis
   Washington, Myra
   Washington, Rebecca
   Washington, Sandra
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   Watson, Donnie
   Watson, Laverne, individually and on behalf of minor children, D’Michael and Dominique Watson
   Wells, Bianka
   Wells, Charles
   Wells, Gail
   West, Andrea, individually and on behalf of Tabryn Virgil
   West, Clifford
   Wharton, Carlethia
   Wharton, Larry, Jr.
   Wharton, Larry, Sr.
   Wharton, Lorraine
   Wheeler, Robert
   White, Equilla
   White, Norma
   White, William
   Williams, Alvin
   Williams, Andrea, individually and on behalf of minor children, Tanaija and Wesley Williams
   Williams, Barbara
   Williams, Beverly, individually and on behalf of minor children, Ken and Kentwine Birdlow, Darion
   Veal and Victoria Washington
   Williams, Bobbie
   Williams, Catina
   Williams, Curtissa
   Williams, Debra
   Williams, Elaine, individually and on behalf of minor children, Tyrone Robinson, Jr. and Tyshika
   Williams
   Williams, Emma
   Williams, Gregory, individually and on behalf of minor child, Xylona Williams
   Williams, Juan
   Williams, Keiajuana
   Williams, Kent
   Williams, Leroy
   Williams, Lionel
   Williams, Lisa, individually and on behalf of minor children, Tanesha, Taysia and Tanaya Bryant
   Williams, Patricia
   Williams, Regina
   Williams, Ruby
   Williams, Sarah
   Williams, Sharlene
   Williams, Trude
   Wilson, Alex
   Wilson, Joan
   Wilson, Matthew
   Wimberly, Jacqueline
   Wimberly, Quinnyon
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   Wimberly, Terrance, Sr., individually and on behalf of minor child, Terrance Wimberly, Jr.
   Wimberly, Valerie, individually and on behalf of deceased mother, Hattie Wimberly
   Winston, Shirley
   Wise, Gail
   Woods, Derrick
   Wright, Louis
   Young, Cornell
   Young, Michelle
   Zuniga, Carlos
   Young, Anthony

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   Adams, Andrea
   Albert, Grace
   Alexander, Kenneth
   Allen, Beatrice
   Allen, Walter, Jr.
   Ambrose, Jules
   Anderson MaryLee
   Allen, Richard
   Arnold, Noel
   Ashmore, Myra
   August, Christopher
   August, Tressie, individually and on behalf of minor child, Taylor August
   Augustine, Aresia
   Baptiste, Lloyd
   Barnes, Andrea
   Barre, Blair
   Barre, Melanie
   Bates, Leo
   Battiste, Oliver
   Bean, Tanya
   Bean, Wendell
   Bell, Chanell
   Bell, Joell
   Belton, Thomas, Jr.
   Bernard, Ann
   Bernard, Dorothy
   Bernard, Gloria
   Bethley, Carolyn
   Bickham, Curley
   Bickham, Dominique, individually and on behalf of minor children, Curtis Ray Bickham and Angel
   Bickham
   Bickham, William, individually and on behalf of minor child, Lorena Bickham
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   Lazio, Rita
   Blunt, Michael
   Blunt, Rose
   Bonner, Major
   Bonner, Melinda
   Boudoir, Nadine
   Brackens, Geneva
   Brackens, Willie, Sr.
   Bradford, D'Juan
   Breland, Claudia
   Brock, Joseph, Jr.
   Brock, Karen
   Brooks, Tiffany
   Broussard, Alease
   Broussard, Curtis
   Brown, Celeste
   Brown, Claudette
   Brown, Cleven
   Brown, Johnny, individually and on behalf of minor children, Jasmine Brown and Cardasia Watson
   Brown, Precious
   Buckner, Paul
   Byrd, Bessie
   Byrd, Russell, Sr.
   Celestine, Willie
   Chapital, Helene
   Chapital, Richard
   Charles, Almena
   Charles, Robert
   Cheatham, Sylvia
   Claiborne, Keyantha
   Clark, Evelyn
   Clark, Larry
   Clark, Patricia
   Colin, Joyce
   Collins, Lisa
   Conerly, Edna
   Cosse, Cindy
   Crawford, Ken
   Croson, Myrtle
   Cunningham, Joseph
   Curveaux, Tanzania
   Daniel, Yolanda
   Davalie, Carnavius
   Davalie, Gail
   Davis, Cherrlyn
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   Davis, Irma
   Dear, Jamal
   Dear, Lucille
   Debrose, Jimmy
   Degruy, Carol
   Dees, Gail M
   Dejean, Keva
   Diamond, Beverly
   Dillworth, Kimyata
   Doty, Debra
   Duplessis, Gwendolyn
   Edwards, Ruby
   Elloie, Latonya
   Elloie, Steven, Sr., individually and on behalf of minor children, Steven, Jr., Terrell and Brittany
   Elloie
   Elow, Josephine
   Elphage, Ernest
   Esco, Sandralyne
   Evans, Edmond
   Fernandez, Allen
   Fisher, Cathy
   Fisher, Lawrence, Jr.
   Fleming, Diane
   Fleming, Donald
   Fleming, Ernest
   Fleming, Kenyan
   Fluence, Priscilla
   Forman, Felicia
   Fos, Virginia
   Foucher, Louvenia
   Foxworth, Racquel, individually and on behalf of minor child Colyer Foxworth
   Frank, Karen
   Franklin, Antoinette
   Frederick, Angela
   Gaines, Damian
   Gaines, Deborah
   Gaspard, Henry
   Gavin, William
   George, Kay
   George, Timothy
   George, Ashaunta, individually and on behalf of Destinee Harris
   Gilbert, Eva
   Gilmore, Gwendolyn
   Gilmore, Joshua
   Graham, Donna
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   Green, Barbara
   Green, Alfred
   Green, Barcardi
   Green, Dorothy
   Greenwood, Jennifer
   Griffin, Marilyn
   Guillaume, Lionel
   Guillory, Tracey
   Gully, Karen, individually and on behalf of minor child, Cameron Fernandez
   Gusman, LaShown
   Harness, Rosetta
   Harold, Cheryl
   Harper, Louis
   Harris, Annette
   Harris, Evelina
   Harris, Georgina
   Harris, Henry
   Harris, Shirley M. (DOB: 7/16/85)
   Hartford, Angel
   Hebrard, Leon
   Hebrard, Natasha, individually and on behalf of minor children, Kayla and Raymond Hebrard
   Henley, Tanice
   Henry, Francis
   Holmes, Christine
   Honeycutt, Emanuel, Sr., individually and on behalf of minor children, Emanuel, Jr. and Eman
   Honeycutt
   Honore, Elaine
   Howard, Jonathan
   Howard, Likitha
   Howard, Pamela
   Hughes, Sandra
   Hurst, Darlene
   Hurst, Don
   Hutton, Lorenzo
   Ivory, Gregory
   Jackson, Donyel
   Jackson, Mary
   Jackson, Pameal
   Jackson, Prince
   Jackson, Steve
   Jefferson, Charlotta, individually and on behalf of minor children, Ian and Kennedy Jefferson
   Jefferson, Patricia
   Jenkins, Lela
   Jenkins, Sylvina
   Johnson, Carol
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   Johnson, Catherine
   Johnson, Ione
   Johnson, Phillip
   Johnson, Sabrina
   Johnson, Tanika
   Johnson, Tonya
   Jones, Karl
   Jones, Mary A. (DOB: 4/9/41)
   Jones, Mary W. (DOB: 12/1/37)
   Jones, Terry
   Joseph, Lynn
   Juluke, Raquel
   King, Clyde, Jr.
   King. Rochelle
   Lang, Ray
   Lewis, Emelda
   Lewis, Geneva
   Lewis, Michael
   Lewis, Rosemary
   Lewis, Willie
   Magee, Alvin
   Magee, Deborah
   Marks, Deborah, individually and on behalf of deceased, George Marks and minor child, Biana Marks
   Marks, Geraldine
   Marks, Rhonda
   Marsh, Henry
   Marsh, Rhea
   Marshall, Brenda
   Marshall, Regina
   Marshall, Weldon
   Marts, Janet
   Matthews, Leroy
   Marble, Donnell
   Marble, Theresa
   Martin, Tynba
   McCants, Marvin
   McCants, Patsy
   McDonald, Darlene
   McDonald, Perry, Sr. individually and on behalf of minor children Perry, Jr. and DeShanna McDonald
   McGowan, Darrayl
   McGowan, Douglas, Sr.
   McGowan, Rosa, individually and on behalf of minor child, Douglas McGowan, Jr.
   Merriell, Susan
   Merritt, Alexis
   Merritt, James, Sr. individually and on behalf of minor child, James Merritt, Jr.
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   Merritt, Janna
   Merritt, Jermond
   Merritt, Tina
   Miles, Cheryl
   Miles, Lionel
   Mitchell, Claudette
   Mitchell, James, Sr.
   Mitchell, Joshua
   Mitchell, Linda,
   Mitchell, Timeka, individually and on behalf of minor children, Brazile A.,Jr. and Jorace Mitchell
   Moorehead, Bennett
   Morgan, Darryl
   Moses, Donald
   Moses, Wanda
   Nash, Genevieve
   Neilley, Andrew
   Nelson, Genell
   Nelson, William
   Newport, Donald
   Newport, Iris
   Norman, Veronica
   Oliver, Denise
   Pate, Denise
   Pate, Henrietta
   Pate, Rilma
   Patrick, Sherlyn
   Penn, Francis
   Perkins, Debra
   Pierre, Helen
   Pittman, Mallory, individually and on behalf of minor children, Adante and Makabe Pittman and
   Tyrone Watts
   Pittman, Melanie
   Pogue, DeShawn
   Porter, David
   Porter, Kevin
   Porter, Mary
   Porter, Sheila
   Porter, Shamica
   Price, Albert L. Jr.
   Pugh, Pam
   Ratcliff, Paulette
   Rawles, Samella A.
   Reese, Carla B., individually and on behalf of minor child, Jazzma Reese
   Reese, Donald B. Jr.
   Reeves, Louise
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   Reeves, Nicole
   Reeves, Willie, individually and on behalf of DeTa, Distine, Donsharey Hall and Dominique Reeves
   Reine, Earl
   Reine, Katie
   Richard, Dawn
   Richardson, Gayle
   Robertson, Anna Marie
   Robertson, Barbara
   Robertson, Frank
   Robinson, Althea Brown
   Robinson, Mamie
   Robinson,. Tess
   Ross, Ivory, individually and on behalf of minor child, Lavar Ross
   Ross, Ronald, Jr.
   Ross, Ronald, Sr.
   Roussell, Antoinette
   Rovaris, Robert, III
   Santiago, Karl
   Sartin, JoAnn
   Scott, Alexander
   Scott, Patricia
   Severin, Annabel
   Shaw, Nathalie
   Shillingford, Shane
   Shorts, Barbara
   Singleton, Larry
   Singleton, Trina Saverin, individually and on behalf of minor children, Shaad and Shique Singleton
   Smith, Danielle
   Smith, Jacqueline
   Smith, Ronald (DOB:11/1/68)
   Smith, Roxie
   Smith, Saundra
   Smith, Tony
   Spencer, Darlene
   Spencer, Minnie
   Stevens, Belinda, individually and on behalf of minor children, Brandi and Warren Stevens, II
   Stevenson, Emmerett
   Stevenson, Shirley
   Stewart, Gloria
   Stewart, Louis
   Stovall, Lois
   Sykes, Don, individually and on behalf of minor children,.Steve Payton, Jr. and Shavante McKendall
   Sykes, Iirene
   Sykes, Qiana
   Sylvester, Gentry
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   Talbert, Audrey
   Talbert, John Jr.
   Tambe, George
   Taylor, Patrica
   Thompson, Eugene
   Thompson, Helen
   Thompson. Lillie
   Thompson. Linda
   Timmons, Lorraine
   Triplett, Lorraine
   Tuckerson, Fred
   Tuckerson, Ireland
   Turner, Christopher
   Turner, Elmyr
   Turner, Robert D.
   Turner, Stephanie
   Vaughn, Mildred
   Veal, Terras
   Ward, George
   Warning, Desiree
   Warren, Corliss
   Washington, Karen
   Washington, Nelson
   Washington, Sharon
   Washington, Stephen
   Washington, Veronica
   Watts, Gail
   Weary, Joann, individually and on behalf of minor children, Britney, Colby and Jordan Weary
   Weary, Karen
   Weber, Denise
   Wells, Betty
   Wells, Evelyn
   White, Glen, Sr.
   White, Irma
   White, Rina
   Whiticar, Deborah
   Wiley, Jessie
   Wiley, Virginia
   Wilkerson, Vera
   Williams, Brian
   Williams, David, Jr.
   Williams, Diane
   Williams, Gregory
   Williams, Ian
   Williams, Ian
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   Williams, Irma, individually and on behalf of minor child, Gina Williams
   Williams, James
   Williams, Kim
   Williams, Kimberly
   Williams, Lawrence
   Williams, Lawrence
   Williams, Louise
   Williams, Michael Sr.
   Williams, Nakesha, individually and on behalf of minor children, Nathan, IV and Mason Williams
   Williams, Nathan, III
   Williams, R.C.
   Williams, Rhenyta
   Williamson, Mitzi
   Wilson, Albert G.
   Wilson, Betty
   Wilson, Carolyn
   Wilson, Tekakwitha
   Wimberly, Franklin
   Wimberly, Irene
   Wright, Claudia
   Wyman, Russell
   Zardes, Charles

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   Adams, Debra
   Adams, Marie
   Agee, Lisa
   Ambrose, Jacob
   Anderson, Jamikka
   Archer, Timothy
   Archer, Tommineka
   Archer, Virgie C.
   August, Miriam
   August, William
   Augustine, Somige
   Babineau, Katie
   Baptiste, Gail
   Baker, Kimberly, individually and on behalf of minor children, Deshyla and Da'Sha T. Baker, Taylor
   R. Henry and Delia T. Madison
   Barriere, Florena
   Bechet, Glenn, Jr., individually and on behalf of minor children, Diamond and Glenn Bechet, III
   Bechet, Kim-Porter
   Benedith, Julia
   Bermudez, Celestino
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   Bermudez, Liliana
   Bermudez, Martha
   Bermudez, Norelly
   Bew, Karen
   Bew, Lonnie
   Bickham, Jimmie
   Bickham, Kathyleen
   Bocage, Donyel
   Boyd, Aisha, individually and on behalf of minor child, Alysia and Emmanuel Boyd
   Boyd, Robert
   Braud, Eureka
   Bridges, Embra
   Bridges, Johnnie
   Briggs, Seymore, Jr.
   Brown, Dianne, individually and on behalf of minor children, Aarrisha and Jamesha Guichard
   Brown, Julius
   Brumfield, Laura
   Bryant, Marie
   Butler, Margaret
   Carr, Emma
   Carr. Lawrence
   Carr, Trichette
   Carr, Tyrus
   Carraby, Catera, individually and on behalf of minor child, Devin Carraby
   Carraby, Damon
   Carter, Joseph
   Carter, Pamela
   Chanzy, Willie, Sr.
   Charles, Robert
   Clark, Aaron
   Clark, Anita
   Clark, Brenda
   Cole, Phayville
   Conerly, Viola
   Cooper, Ann
   Cordier, Jahn
   Cordier, James, IV
   Cordier, Leon
   Craig, Betty
   Craig, James
   Crawford, Adam
   Crawford, Denise
   Curd, Leslie, Jr.
   Darny. Yolanda
   Davenport, Louis, III
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   Davenport, Mercedes, individually and on behalf of minor child, Louis Davenport, IV
   Davis, Curtis
   Davis, Jean
   Davis, Lee
   Davis, Lennox
   Davis, Shandon
   Davis, Sharlean
   Dawkins, Diana
   Demery, Jean-Marie
   Demery, Karen
   Derbigny, Blaine
   Derbigny, Kelly
   Dexter, Onitha
   Dixon, Barbara, individually and on behalf of Ty'Julante Dixon and Jermaine Hawkins
   Dixon, Ezell
   Douglas, David
   Ducres, Lynn
   Dukes, Cocoa
   Dukes, Janice
   Dunbar, Mae
   Eames, Stewart
   Eddington, Deidre
   Everdige, Ernest, Jr.
   Everdige, Hillary, individually and on behalf of minor children, Essence Everdige, Jakiah Lofton and
   Kumasi Nicholas, Jr. ,
   Fields, Julia, individually and on behalf of minor child, Karl Fields
   Francis, Clifford
   Francis, Nechelle
   Galloway, Augustine
   Garrett, Devlin
   Gatlin, Arletia
   Gatlin, Clyde, Jr.
   Gilbert, Cynthia
   Gittens, Lisa
   Gittens, Maximo, Sr. individually and on behalf of minor children, Keisha, Maximo, Jr. and Nicole
   Gittens
   Gordon, Nadia
   Gordon, Perry Lee
   Gorum, Michelle
   Gorum, Travis
   Grant, Ernest
   Grant, Kia
   Grant, Ollie
   Green, Sharon
   Green, Shirley
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   Greenwood, June
   Guichard, Carla
   Guidry, Patricia
   Hales, Gisele
   Hales, Virginia
   Hardy, Duane
   Hardy, Sandra
   Harrell, Alfred
   Harrell, Edna
   Harris, Ursula
   Harrison, Fanny
   Hayes, Earline
   Hayes, Jennifer
   Hebert, Alex, Jr.
   Hebert, Cathy
   Hendricks, Lydia
   Hill, Janice
   Hogan, Sheree
   Honora, Martha, individually and on behalf of minor child, Jerrinette Wiggins
   Honore, Jeanne
   Honore, Mary
   House, Adam, Jr.
   House, Adam, Sr.
   House, Darnell, individually and on behalf of minor child, Raven House
   Howard, Cherlyn
   Ison, Joyce
   Ison, Richwell
   Jackson, Donna
   Jackson, Herbert
   Jackson, Leroi
   Jackson, Rose
   James, Sabrina
   Jefferson, Real
   Jenkins, Donald
   Jenkins, Sandra
   Johnson, Ernest
   Johnson, Maya
   Jones, Debra
   Jones, Tyrone, Jr.
   Journee, Roger
   Keller, Stacey on behalf of her deceased father, Raymond Keller
   Langley, Melinda
   Lastie, Marie
   Lavigne, Gail
   Lavigne, Tyrone
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   Lawrence, Annette
   Lee, Calvin, Jr.
   Lee. Ericka, individually and on behalf of Kameyon Oliver
   Lee, Lorraine
   Legrone, Tricia
   Lewis, Addrell
   Lewis, Antoinette
   Lewis, Clinton
   Lewis, David
   Lewis, Herman
   Lewis, Jacqulin, individually and on behalf of minor child, Davonne Lewis
   Lewis, Nathalie, individually and on behalf of minor children, Ashley Celestine, Kiara and Diavian
   Taylor
   Lewis, Ronald, Sr.
   Lewis, Sandra
   Lockwood, Mary
   Luke, Pamela, individually and on behalf of minor children, Ammon and Jade Turner and Joshua
   Marshall
   Mabesis, Stephanie
   Mack, Gwendolyn M.
   Marshall, Hope R.
   Martin, Annie J.
   Martinez, Jose
   Martinez, Nidia
   Matthews, Jamila D. Wright
   Matthews, Karen J., individually and on behalf of minor children, Avery, Jr. and Lauryn Matthews
   Maxwell, Barbara, individually and on behalf of Kimberly and Melissa Maxwell
   Maxwell, Lewis, Jr.
   McCann, Olus J.
   McDonald, Mamie Robinson, individually and on behalf of minor children, Anissa and Taj M.
   McDonald, Kehnemah, Naiami and Shymrr Downing
   McFarland, Anna T.
   McFarland, Sandear
   McGee, Mary
   McGowan, Charles
   McGowan, Thelma B.
   McGowan, Yarvelle
   McKendall, Albany
   McKendall, Henry
   Mercadel, Kathy
   Mercadel, Maurice, III
   Meyers, Edith K.
   Mouton, Gloria
   Muse, Jackie L.
   Nelson, James E.
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   Newton, Leola G.
   Nunnery, JoAnn
   Parker, Claudette individually and on behalf of minor child, Edward Kees
   Parms, Kentranka Gordon
   Parms, Willie
   Patterson, Dwayne
   Pierre, Milton
   Pierre, Myra
   Penn, Charles
   Perrette, Louis P. III
   Pore, Debra
   Pore, Denise
   Price, Lear W.
   Rayford, Betty
   Recasner, Allen
   Recasner, Karen
   Riels, Shonda
   Robertson, Adele B.
   Robair, Schelaine
   Robinette, Louis
   Robinette, Wanda
   Robinson, Charlena M.
   Route, Lois S.
   Royal, Michael A. Sr., individually and on behalf of minor child, Michael A. Royal, Jr.
   Royal, Oscar
   Royal, Rosie
   Sanchez, Jackalyn
   Sanchez, Sheddrick B.
   Scott, Gloria Juluke
   Scotts, Cassandra
   Segue, Melvin
   Sills, Sandra
   Slugher, Eric
   Smith, Brenda
   Smith, Jane J.
   Smith, Jearl Dean Butler
   Smith, Ollie Jean
   Smith, Preston L., Jr.
   Sobers, Carolyn J.
   Spriggens, Robert H.
   Spriggs, Glenn
   Stewart, Cornell, Sr.
   Stewart, Paula, individually and on behalf of minor children, Caroline and Renada Guichard and
   LaQuan and Cornell Stewart, Jr.
   Stewart, Renee
Case 2:05-cv-04182-SRD-JCW Document 7353-1 Filed 08/29/07 Page 85 of 89




   Swaney, Lois F.
   Taylor, Bernadette P.
   Taylor, Justin P.
   Taylor, Patricia, individually and on behalf of minor children, Marie A. Taylor and Cayla J. Metz
   Taylor, Ronald
   Taylor, Thomas
   Taylor, Wilma
   Temple, Eric
   Thomas, Ira H., Sr.
   Thomas, Wesley W.
   Thompson, Cindy
   Toval, Dawn
   Toval, Lynn
   Tucker, Charlene
   Turner, Jimmie L. Sr.
   Turner, Lydia B.
   Vaughn, Jaquelyn L.
   Van Buren, Michael
   Vason, Kendra
   Walker, George
   Walker, Mary M. James
   Washington, Alton
   Washington, Chantell
   Washington, Jacqueline
   Washington, Dominique
   Washington, Margaret Ferguson
   Washington, Patricia
   Washington, Tomas D.
   Watkins, Janell
   Watkins, Janice
   Watkins, Stefnee
   Watkins, Stephen L.
   Welch, Charles Anthony
   Welch, Kathy Taylor, individually and on behalf on minor children, Austin Charles and Sydney Marie
   Welch
   Wells, Dorothy
   Wilkerson,. Edridge
   Wilkerson, Perry
   William, Joyce
   Williams, Alicia
   Williams, Ashleigh
   Williams, Carrie
   Williams, Franczella, individually and on behalf of minor child, Shayne W. Williams
   Williams, Henry
   Williams, Louis
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   Williams, Michael, Jr.
   Williams, Michael, Sr.
   Williams, Naomi
   Williams, Rose M.
   Williams, Terry
   Williams, Toya
   Wilson, Claudia
   Wilson, George
   Wiltz, Sharron A.
   Wright, Donald
   Wright, Keisha
   Wright, Wilma
   Youngblood, Helen
   Youngblood, Samantha

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   Adams, Betty
   Armelin, Peggy
   Avery, Karen
   Bailey, Veronica, individually and on behalf of minor child Trey Bailey
   Bailey, Troy
   Baudy, Ida Mulmore
   Bell, Gwendolyn, individually and on behalf of minor child, Sabrina G. Bell
   Curtis, LeRikaco
   Blouin, Shantell
   Butler, Clarence
   Butler, Nancy
   Carey, Lurlene
   Carey, Tyrone A.
   Clark, Deunker
   Cutno, Oralean T.
   Everfield, Shirley
   Ferrand, Ernest
   Fielder, Debra A.
   Foster, Angela
   Fournett, Karen
   Saunders, Jamie
   Gaspard, Peggy
   Gaspard, Teidra
   Gipson, Sam
   Glasper, George
   Gresham, Edward, Jr.
   Gresham, Edward, III
   Gresham, Eloris
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   Hammond, Michelle
   Hampton, Gail
   Hines, Zita
   Howard, Shirley AC
   Coleman, Eola C.
   Jackson, Michael M.
   Jefferson, Carlas
   Jolla, Joshua
   Jolla, Arianne
   Jones, Janice
   Kisack, Richard, individually and on behalf of minor children, ReShonde and Sarina Kisack
   LaBeau, Katrina, individually and on behalf of minor child, Major Lewis LaBeau
   Leaper, Patrick
   Levy, Penny
   Little, Courtney
   Meyers, Richard
   Miller, Stephanie
   Monday, Gloriann
   Mulmore, Nolita
   Nelson, Yvette
   Perry, Lenzo
   Reed, Rosalie
   Reimoneq, Anthony
   Reimoneq, Beulah
   Robair, Alexander
   Rodger, Shirley
   Sanders, Dolise
   Washington, Ronald
   Sanders, Sheila
   Saunders, Jamie
   Spencer, Annette
   Summers, Patricka
   Sutton, Andrie
   Taylor, Chris
   Taylor, Valerie
   Thomas, Leonard
   Thomas, Sargiena
   Thompson, Allen
   Thompson, Theresa
   Vaughn, James
   Vaughn, Kathy
   Williams, Christopher
   Williams, Madonna
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   Durand, Anique
   Holmes, Ruby
   Washington, Tyrone
   Johnson. Hilda
   Matthews, Demita N.
   Singleton, Sharon

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   Clark, Vanessa
   Harper, Ralph
   Jones, Glenda
   Kees, Valerie, individually and on behalf of minor children. Taylor A. Kees, Brandon L and Jules
   Scott
   Mitchell, Viola

   St. Bernard

   Alveris, La'Shunda
   Banks, Amanda
   Bienemy, Zina M.
   Bordelon, Dominique
   Bordelon, Juliette, individually and on behalf of deceased spouse, Jesse Bordelon, Sr.
   Bordelon, Michael, Jr.
   Bordelon, Michael, Sr., individually and on behalf of minor children, Blake and Brooke Bordelon
   Burns, Perry R.
   Ferlita, Vida
   Ferlita, Steven
   Ferlita, Jena
   Fields, Calvin
   Williams, Myrtle
   Geraldine, Kelly
   Hayes, Lynette N.
   Henry, Angela
   Hills, Glenda
   Holmes, Antoinette
   Johnson, Terrance
   Jones, Lydia
   Joseph, Sabrina
   Major, Phillip
   Miller, Sabrika
   Pogue, La Tanya
   Pomes, Gaynell
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   Reddick, Helen
   Reddick, Sherlene
   Richardson, Eva
   Richardson, Mary
   Sanchez, Aguillard
   Sanchez, Beverly
   Sanchez. Deloris C.
   Sims, Adrian, individually and on behalf of minor children, Alvin and Alvinisha Sims
   Sylvester, Beverly
   Taylor, Larry
   Trainor, Ebony
   Vaughn, Belinda
   Walters, Mark G.
   Walters, Sylvia
   Wilson, Elbert
